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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE
                                                   )
 In re:
                                                   )   Chapter 7
 BW Industries Inc.,                               )
                                                   )   Case No. 23-XXXXX (XXX)
                Debtor.                            )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Bitwise Industries, Inc.,                         )
                                                   )   Case No. 23-XXXXX (XXX)
                Debtor.                            )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 BWRD, LLC,                                        )
                                                   )   Case No. 23-XXXXX (XXX)
                Debtor.                            )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Alpha Works Technologies, LLC,                    )
                                                   )   Case No. 23-XXXXX (XXX)
                Debtor.                            )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Bruce's Bagels, Beverages, and Bites, LLC,        )
                                                   )   Case No. 23-XXXXX (XXX)
                Debtor.                            )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )




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     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
        AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                          Introduction

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the
“Schedules and Statements”) filed by BW Industries Inc. (“BWI”), Bitwise Industries, Inc.
(“Bitwise”), BWRD, LLC (“BWRD”), Alpha Works Technologies, LLC (“Alpha Works”) and
Bruce's Bagels, Beverages, and Bites, LLC (“BBBB” and together with BWI, Bitwise, BWRD,
and Alpha Works, the “Company”) as debtors and debtor-in-possession (collectively, the
“Debtors”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), were prepared in accordance with section 521 of title 11 of the United States Code (the
“Bankruptcy Code”), and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”) by management of the Debtors, with the assistance of the Debtors’
professional advisors, and are unaudited.

        The information provided herein, except as otherwise noted, is as of the close of business
on the eve of June 28, 2023 (the “Petition Date”). While management of the Company has made
every reasonable effort to ensure that the Bankruptcy Schedules are accurate and complete, based
upon information that was available to them at the time of preparation, the subsequent receipt of
information may result in material changes to financial data and other information contained in the
Bankruptcy Schedules and inadvertent errors or omissions may exist.

        The Schedules and Statements were prepared from the findings of an internal analysis of
the Company spanning from May 28 through June 22, 2023 (the “Internal Analysis”). The
Internal Analysis concluded, inter alia, that the books and records of the Company are substandard
and materially incomplete. Further, significant irregularities also exist, and while the Company
has attempted to estimate the size of the irregularities, the lack of organized and well-kept books
and records, as well as obstacles resulting from an inability to access and verify certain financial
information such as bank accounts, has hindered the Company’s ability to make such an
estimation. The Internal Analysis concludes that a complete re-creation of the books, along with
external confirmations, might be necessary to get a reliable picture of the Company’s true financial
history and current financial position. Accordingly, there can be no assurance that these
Bankruptcy Schedules are complete or accurate.

       The Schedules and Statements have been signed by Ollen Douglass, Interim President of
the Company. Mr. Douglass has not (nor could have) personally verified the accuracy of each
statement and representation, including, for example, statements and representations concerning
amounts owed to creditors, classification of such amounts, and their addresses. In addition, Mr.
Douglass has not (nor could have) personally verified the completeness of the Schedules and
Statements, nor the accuracy of any information contained therein. In reviewing and signing the
Schedules and Statements, Mr. Douglass relied upon various personnel of the Debtors and the
Debtors’ professional advisors and their efforts, statements, and representations in connection
therewith. Although management has made reasonable efforts to ensure that the Schedules and
Statements are accurate and complete based upon information that was available to them at the

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time of preparation, subsequent information or discovery thereof may result in material changes
to the Schedules and Statements, and inadvertent errors or omissions may exist.

       These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes should be referred to and reviewed in connection with any review of the
Schedules and Statements. The Global Notes are in addition to any specific notes contained in any
Debtor’s Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit
or continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit or continuation sheet.

        The Schedules, Statements and Global Notes should not be relied upon by any persons
for information relating to current or future financial conditions, events or performance of
the Debtors.

                           Global Notes and Overview of Methodology

1.       General Reservation of Rights. Although the Debtors’ management has made every
         reasonable effort to ensure that the Schedules and Statements are as accurate and complete
         as possible under the circumstances based on information that was available to them at the
         time of preparation, subsequent information or discovery may result in material changes to
         the Schedules and Statements, and inadvertent errors or omissions may have occurred,
         some of which may be material. Because the Schedules and Statements contain unaudited
         information, which remains subject to further review, verification, and potential
         adjustment, there can be no assurance that the Schedules and Statements are complete. The
         Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
         and all respects, as may be necessary or appropriate, including the right to dispute or
         otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
         as to amount, liability, or classification, or to otherwise subsequently designate any claim
         (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
         in the Schedules and Statements shall constitute an admission of any claims or a waiver of
         any of the Debtors’ rights with respect to these chapter 7 cases, including issues involving
         substantive consolidation, recharacterization, equitable subordination, and/or causes of
         action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
         non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
         contained elsewhere in the Global Notes does not limit in any respect the general
         reservation of rights contained in this paragraph.

2.       Basis of Presentation. The Schedules and Statements purport to reflect the assets and
         liabilities of the Debtors. The Debtors reserve all rights relating to the legal ownership of
         assets and liabilities and nothing in the Schedules or Statements shall constitute a waiver
         or relinquishment of such rights. Information contained in the Schedules and Statements
         has been derived from the Debtors’ books and records. The Schedules and Statements do
         not purport to represent financial statements prepared in accordance with Generally
         Accepted Accounting Principles nor are they intended to be fully reconcilable to audited
         financial statements.

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3.       Totals. All totals that are included in the Schedules and Statements represent totals of all
         known amounts included in the Debtors’ books and records. To the extent there are
         unknown or undetermined amounts, the actual totals may be different than the listed total,
         and the difference may be material. In addition, the amounts shown for total liabilities
         exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
         “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
         the Schedules and Statements.

4.       Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
         and liabilities from the Schedules and Statements, including but not limited to certain
         deferred expenses and deferred revenue items, lease assets and related lease liabilities,
         suspense and clearing accounts, unbilled revenue, capitalized loan fees, certain assets and
         liabilities of their non-Debtor subsidiaries and certain accrued liabilities. The Debtors have
         also excluded potential claims arising on account of the potential rejection of executory
         contracts and unexpired leases, to the extent such claims exist. Certain immaterial assets
         and liabilities that are not reported or tracked centrally may have been excluded.

5.       Amendments and Supplements; All Rights Reserved. Reasonable efforts have been
         made to prepare and file complete and accurate Schedules and Statements; inadvertent
         errors or omissions, however, may exist. The Debtors reserve all rights, but are not
         required, to amend and/or supplement the Schedules and Statements from time to time as
         is necessary and appropriate.

6.       References. References to applicable loan agreements and related documents are
         necessary for a complete description of the collateral and the nature, extent, and priority of
         liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

7.       Book Value. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on the
         basis of its net book values as of May 31, 2023. Thus, unless otherwise noted, the Schedules
         and Statements reflect the carrying value of the assets and liabilities as recorded on the
         Debtors’ books. Net book values may vary, sometimes materially, from market values.
         The Debtors do not intend to amend these Schedules and Statements to reflect market
         values.

8.       Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
         correctly characterize, classify, categorize, or designate certain Claims, assets, executory
         contracts, unexpired leases, and other items reported in the Schedules and Statements, the
         Debtors nonetheless may have improperly characterized, classified, categorized, or
         designated certain items.
9.       Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
         classify properly each Claim listed in the Schedules as being either disputed or undisputed,
         liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
         able to fully reconcile all payments made to certain third-party entities on account of the
         Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the


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         Debtors have classified its estimate of Claims of a creditor as disputed, for example, all
         Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
         considered disputed, whether or not they are individually designated as such.

10.      Liabilities. The Debtors allocate liabilities between the prepetition and post-petition
         periods based on the information and research conducted in connection with the
         preparation of the Schedules and Statements. As additional information becomes available,
         and further research is conducted, particularly with respect to the Debtors’ payable
         accounts, the allocation of liabilities between the prepetition and post-petition periods may
         change.

         The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
         under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
         rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
         the Bankruptcy Code or the characterization of the structure of any such transaction or any
         document or instrument related to any creditor’s Claim.

11.      Guarantees and Other Secondary Liability Claims. Where guarantees have been
         identified, they have been included in the relevant liability Schedule for the Debtors
         affected by such guarantee. The Debtors have also listed such guarantees on the applicable
         Schedule H. It is possible that certain guarantees embedded in the Debtors’ executory
         contracts, unexpired leases, secured financings, debt instruments and other such
         agreements may have been inadvertently omitted.

12.      Intercompany Claims. The net balance of intercompany transactions between the Debtors
         is set forth on Schedule A/B or Schedule E/F, as applicable, and receivables are classified
         as current assets. Intercompany transfers between Debtors are not captured on Statement 2
         or 3. The listing in the Schedules or Statement (including, without limitation, Schedule A/B
         or Schedule E/F) by the Debtors of any obligation between a Debtor and a Debtor is a
         statement of what appears in the Debtors’ books and records and does not reflect any
         admission or conclusion of the Debtors regarding whether such amount would be allowed
         as a Claim or how such obligations may be classified and/or characterized in a plan of
         reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to
         such obligations.

13.      Intellectual Property Rights. Exclusion of certain intellectual property shall not be
         construed to be an admission that such intellectual property rights have been abandoned,
         have been terminated or otherwise expired by their terms, or have been assigned or
         otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
         inclusion of certain intellectual property shall not be construed to be an admission that such
         intellectual property rights have not been abandoned, have not been terminated or otherwise
         expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. The Debtors have made significant efforts to attribute
         intellectual property to the rightful Debtor owner. Accordingly, the Debtors reserve all
         rights with respect to the legal status of any and all such intellectual property rights.



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14.      Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
         contracts or unexpired leases as assets in the Schedules and Statements. Instead, the
         Debtors’ executory contracts and unexpired leases have been set forth in Schedule G. In
         addition, while the Debtors have made diligent attempts to properly identify all executory
         contracts and unexpired leases, inadvertent errors, omissions, or over-inclusion may have
         occurred.

15.      Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
         “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
         given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
         does not constitute an admission by the Debtors that such amount is not “disputed,”
         “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
         reserve all rights to dispute any Claim reflected on their respective Schedules and
         Statements on any grounds, including, without limitation, liability or classification, or to
         otherwise subsequently designate such Claims as “disputed,” “contingent,” or
         “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
         the grounds that, among other things, the Claim has already been satisfied.

16.      Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all
         causes of action or potential causes of action against third parties as assets in the Schedules
         and Statements, including, without limitation, avoidance actions arising under chapter 5 of
         the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover
         assets. The Debtors reserve all of their rights for any claims, causes of action, or avoidance
         actions they may have, and neither these Global Notes nor the Schedules and Statements
         shall be deemed a waiver of any such claims, causes of actions, or avoidance actions or in
         any way prejudice or impair the assertion of such claims.

17.      Undetermined Amounts. Claim amounts that could not readily be quantified by the
         Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
         amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
         materiality of such amount.

18.      Liens. Property and equipment listed in the Schedules and Statements are presented without
         consideration of any liens that may attach (or have attached) to such property or equipment.

19.      Individual and Employee Addresses. Any individual, including current employee, former
         employee, and director addresses have been redacted from entries listed throughout the
         Schedules and Statements, where applicable.

20.      Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
         management was required to make certain estimates and assumptions that affected the
         reported amounts of these assets and liabilities.

21.      Credits and Adjustments. The claims of individual creditors for, among other things,
         goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
         and records and may not reflect credits, allowances, or other adjustments due from such


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         creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
         allowances, and other adjustments, including the right to assert claims objections and/or
         setoffs with respect to the same.

22.      Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
         course of business. Offsets in the ordinary course can result from various items,
         including, without limitation, intercompany transactions, pricing discrepancies, returns,
         warranties, negotiations and/or disputes between the Debtors and their vendors and
         customers. These offsets and other similar rights are consistent with the ordinary course
         of business in the Debtors’ industry and are not tracked separately. Therefore, although
         such offsets and other similar rights may have been accounted for when certain amounts
         were included in the Schedules, offsets are not independently accounted for, and as such,
         are excluded from the Schedules.

23.      Global Notes Control. In the event that the Schedules and Statements differ from these
         Global Notes, the Global Notes shall control.

24.      Confidentiality: There may be instances in the Schedules and Statements where the
         Debtors have deemed it necessary and appropriate to redact from the public record
         information such as names, addresses, or amounts. Typically, the Debtors have used this
         approach because of an agreement between the Debtors and a third party, concerns of
         confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
         of, personally identifiable information.

                           General Disclosures Applicable to Schedules

25.      Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
         “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
         “executory” or “unexpired,” does not in each case constitute an admission by the Debtors
         of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
         reclassify such Claim or contract.

26.      Schedule A/B - Real and Personal Property.

         a)     Schedule A/B. All values set forth in Schedule A/B reflect the book value of the
                Debtors’ assets as of the Petition Date unless otherwise noted below or in the
                Schedules and Statements.

         b)     Schedule A/B.3. Bank account balances are as of June 21 and June 22, 2023. Bank
                accounts with Central Valley Community Bank were frozen on June 6, 2023 and
                may have been closed. The account balances as of the Petition Date is unknown as
                current management cannot access these accounts.

         c)     Schedule A/B 8. Prepayments are as of May 31, 2023.

         d)     Schedule A/B.11. Accounts Receivable balances are as of the end of business on
                June 15, 2023 and do not include Intercompany balances.

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         e)     Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
                stock ownership. For purposes of these Schedules, the value of the Debtors’
                interests is undetermined. The book values of certain assets may materially differ
                from their fair market values and/or the liquidation of the assets prepared in
                connection with the Disclosure Statement.

         f)     Schedule A/B. Parts 7, 8, and 9. Dollar amounts are presented net of accumulated
                depreciation and other adjustments. Cost is as of December 31, 2022 and
                accumulated depreciation is as of April 30, 2023. The Company’s records did not
                include any fixed asset additions or disposals after December 31, 2022.

         g)     Schedule A/B 60-61. Intellectual property is listed in Schedule A/B 60-61 as an
                undetermined amount on account of the fact that the fair market value of such
                ownership is dependent on numerous variables and factors and may differ
                significantly from its net book value. Nothing herein or in the Schedules and
                Statements shall be construed as an admission or acknowledgment by the Debtors
                that any particular intellectual property is not transferable either pursuant to its
                terms or pursuant to provisions of the Bankruptcy Code or has no market value, and
                the Debtors reserve all rights with respect to any such issues.

         h)     Schedule A/B 72. Interests in Net Operating Losses (“NOLs”). Certain of the
                Debtors may have the ability to take advantage of NOLs, which amounts may be
                accumulated for more than one tax year. For combined or consolidated returns, the
                value of NOLs is reported at the parent level. NOLs reflected are as of December
                31, 2021. The Debtors may have the ability to claim NOLs for subsequent years.

         i)     Schedule A/B 74/75. The Debtors’ failure to list any contingent and/or unliquidated
                claim held by the Debtors in response to this question shall not constitute a waiver,
                release, relinquishment, or forfeiture of such claim. In the ordinary course of its
                business, the Debtors may have accrued, or may subsequently accrue, certain rights
                to counter-Claims, setoffs, refunds or potential warranty Claims against its
                suppliers. Additionally, the Debtors may be a party to pending litigation in which
                the Debtors have asserted, or may assert, Claims as a plaintiff or counter-Claims as
                a defendant. Because such Claims are unknown to the Debtors and not quantifiable
                as of the Petition Date, they are not listed on Schedule A/B 74/75.

         j)     Schedule A/B73. Interests in Insurance Policies or Annuities. The Debtors believe
                that there is little or no cash value to the vast majority of such insurance policies.
                All known current insurance policies are listed in response to Schedule A/B 73.

27.      Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
         or were incurred on various dates; a determination of the date upon which each Claim arose
         or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
         such dates are included for each Claim. All Claims listed on Schedule D, however, appear
         to have arisen or have been incurred before June 28, 2023.

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         Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to
         dispute or challenge the validity, perfection or immunity from avoidance of any lien
         purported to be granted or perfected in any specific asset for the benefit of a secured
         creditor listed on a Debtors’ Schedule D. Moreover, although the Debtors may have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all rights to
         dispute or challenge the secured nature of any such creditor’s Claim or the characterization
         of the structure of any such transaction or any document or instrument (including without
         limitation, any intercompany agreement) related to such creditor’s Claim. To that end, the
         Debtors take no position as to the extent or priority of any particular creditor’s lien in the
         Schedules and Statements.

         The descriptions provided in Schedule D are intended only to be a summary. Reference to
         the applicable loan documents is necessary for a complete description of the collateral and
         the nature, extent and priority of any liens. Nothing in these Notes or the Schedules and
         Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

         Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
         Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in any specific
         asset of a secured creditor listed on Schedule D. Moreover, although the Debtors have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all of their
         rights to dispute or challenge the secured nature of any such creditor’s Claim or the
         characterization of the structure of any such transaction or any document or instrument
         related to such creditor’s Claim. Further, while the Debtors have included the results of
         Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
         an admission as to the validity of any such lien. The descriptions provided in Schedule D are
         solely intended to be a summary and not an admission of liability. The Debtors have made
         reasonable, good faith efforts to include all known liens on Schedule D but may have
         inadvertently omitted to include an existing lien because of, among other things, the
         possibility that a lien may have been imposed after the Uniform Commercial Code searches
         were performed or a vendor may not have filed the requisite perfection documentation.

         Except as specifically stated on Schedule D, real property lessors, utility companies, and
         other parties that may hold security deposits have not been listed on Schedule D.

         Moreover, the Debtors have not included on Schedule D parties that may believe their
         Claims are secured through setoff rights or inchoate statutory lien rights.

28.      Schedule E/F— Creditors Holding Unsecured Claims. The Debtors have used
         reasonable efforts to report all general unsecured Claims against the Debtors on Schedule
         E/F based upon the Debtors’ existing books and records as of the Petition Date; however,
         inadvertent errors or omissions may have occurred. The Claims listed on Schedule E/F
         arose or were incurred on various dates. In certain instances, the date on which a Claim
         arose is an open issue of fact. In addition, the Claims of individual creditors for, among
         other things, goods or services are listed as either the lower of the amounts invoiced by
         such creditor or the amounts entered on the Debtors’ books and records and may not reflect

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         credits, rebates, or allowances due from such creditors to the Debtors. The Claims and
         amounts listed in respect of certain trade payables reflect amounts owed as of the Petition
         Date. Despite the Company’s best efforts, the Company was unable to locate the address
         for certain claims on Schedule F.

         The Debtors may pay additional Claims listed on Schedule E/F during the chapter 7 cases
         pursuant to orders of the Bankruptcy Court, and reserve all rights to update Schedule E/F
         to reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
         to priority under section 503(b)(9) of the Bankruptcy Code.

         Schedule E/F also contains information regarding pending litigation involving the Debtors.
         The dollar amount of potential Claims associated with any such pending litigation is listed
         as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
         and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
         subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
         potential or threatened legal disputes that are not formally recognized by an administrative,
         judicial, or other adjudicative forum due to certain procedural conditions that
         counterparties have yet to satisfy.

29.      Schedule G — Executory Contracts and Unexpired Leases. While reasonable efforts
         have been made to ensure the accuracy of Schedule G, the Debtors’ business is complex,
         and inadvertent errors, omissions, or overinclusion may have occurred. Each lease and
         contract listed in Schedule G may include one or more ancillary documents, including any
         underlying assignment and assumption agreements, amendments, supplements, full and
         partial assignments, renewals and partial releases, which may not be listed on Schedule G.
         Certain of the leases and contracts listed on Schedule G may contain certain renewal
         options, guarantees of payment, options to purchase, rights of first refusal, and other
         miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
         Schedule G. In addition, the Debtors may have entered into various other types of
         agreements in the ordinary course of business, such as financing agreements, indemnity
         agreements, subordination, non-disturbance agreements, supplemental agreements,
         amendments/letter agreements, title agreements, and confidentiality agreements. Such
         documents may not be set forth on Schedule G. Certain of the executory contracts may not
         have been memorialized in writing and could be subject to dispute.

         The Debtors reserve all rights to dispute the validity, status, or enforceability of any
         contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
         Schedule as necessary. Omission of a contract or agreement from Schedule G does not
         constitute an admission that such omitted contract or agreement is not an executory contract
         or unexpired lease. Likewise, inclusion of any agreement on Schedule G does not
         constitute an admission that such agreement is an executory contract or unexpired lease, or
         that such agreement was in effect on the Petition Date or is valid and enforceable, and the
         Debtors reserves all rights in that regard, including without limitation the right to assert
         that any agreement is not executory, has expired pursuant to its terms, is severable in whole
         or in part, or was terminated prepetition.



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30.      Schedule H — Co-debtors. Although the Debtors have made every effort to ensure the
         accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
         The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
         any obligations set forth on Schedule H and to further amend or supplement such Schedule
         as necessary.

         The Debtors further reserve all rights, claims, and causes of action with respect to the
         obligations listed on Schedule H, including the right to dispute or challenge the
         characterization or the structure of any transaction, document, or instrument related to a
         creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H
         shall not be deemed an admission that such obligation is binding, valid, or enforceable.

         In the ordinary course of its business, the Debtors are involved in pending or threatened
         litigation and claims arising out of the conduct of its business. These matters may involve
         multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
         counterclaims against other parties. Because such claims are listed elsewhere in the
         Statements and Schedules, they may not have been set forth individually on Schedule H.

         Schedule H also reflects guarantees by the Debtors. The Debtors may not have identified
         certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
         debt instruments, and other such agreements. Thus, the Debtors reserve their right, but shall
         not be required, to amend the Schedules to the extent that additional guarantees are
         identified, or such guarantees are discovered to have expired or are unenforceable.

                          General Disclosures Applicable to Statements

31.      Questions 1 and 2. The gross revenue and non-business revenue reported for the current
         fiscal year are through May 31, 2023.

32.      Question 3 and 4. For certain creditors receiving payment, the Debtors maintain multiple
         addresses for such vendor. Efforts have been made to attribute the correct address, however,
         in certain instances, alternate addresses may be applicable for a party listed in response to
         Question 3.

         Question 3. Question 3 includes any disbursement or other transfer made by the Debtors
         except for those made to employees.

         For purposes of the Schedules and Statements, the Debtors define insiders as individuals
         that, based upon the totality of circumstances, have a controlling interest in, or exercise
         sufficient control over the Debtors so as to dictate corporate policy and the disposition of
         assets. The Debtors do not take any position with respect to (a) such person’s influence
         over the control of the Debtors; (b) the management responsibilities or functions of such
         individual; (c) the decision-making or corporate authority of such individual; or (d)
         whether such individual could successfully argue that he or she is not an “insider” under
         applicable law, including the federal securities law, or with respect to any theories of
         liability or any other purpose. As such, the Debtors reserve all rights to dispute whether


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         someone identified in response to Question 4 is in fact an “insider” as defined in section
         101(31) of the Bankruptcy Code.

33.      Question 7. The Debtors reserve all rights and defenses with respect to any and all listed
         lawsuits and administrative proceedings. The listing of any such suits and proceedings
         shall not constitute an admission by the Debtors of any liabilities or that the actions or
         proceedings were correctly filed against the Debtors. The Debtors also reserve their rights
         to assert that a Debtor is not an appropriate party to such actions or proceedings.

34.      Question 10. The Debtors have made best efforts to collect applicable and responsive
         information however, certain de minimis losses, which are not tracked separately, may have
         been omitted.

35.      Question 11. Certain of the payments listed may have been paid for services outside of
         debt consolidation, restructuring or bankruptcy relief.

36.      Question 13. While the Debtors have made reasonable efforts to respond comprehensively
         to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.

37.      Question 26d. The Debtors have supplied financial statements and reports in the ordinary
         course of business to certain third parties under confidentiality agreements. Such third
         parties include restructuring professionals, administrative agents under the Debtors’ debt
         facilities, and certain other creditors and their advisors.

38.      Question 30. For this question, please reference Statement of Financial Affairs, Question
         4.




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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                           )
In re:
                                                           )   Chapter 7
                                                           )
BW Industries Inc.,                                        )   Case No. 23-XXXXX (XXX)
                                                           )
                  Debtor.                                  )
                                                           )
Tax I.D. No. XX-XXXXXXX                                    )

                                                           )
In re:
                                                           )   Chapter 7
                                                           )
Bitwise Industries, Inc.,                                  )   Case No. 23-XXXXX (XXX)
                                                           )
                  Debtor.                                  )
                                                           )
Tax I.D. No. XX-XXXXXXX                                    )

                                                           )
In re:
                                                           )   Chapter 7
                                                           )
BWRD, LLC,                                                 )   Case No. 23-XXXXX (XXX)
                                                           )
                  Debtor.                                  )
                                                           )
Tax I.D. No. XX-XXXXXXX                                    )
                                                           )
                                                           )
In re:
                                                           )   Chapter 7
                                                           )
Alpha Works Technologies, LLC,                             )   Case No. 23-XXXXX (XXX)
                                                           )
                  Debtor.                                  )
                                                           )
Tax I.D. No. XX-XXXXXXX                                    )

                                                           )
In re:
                                                           )   Chapter 7
                                                           )
Bruce's Bagels, Beverages, and Bites, LLC,                 )   Case No. 23-XXXXX (XXX)
                                                           )
                  Debtor.                                  )
                                                           )
Tax I.D. No. XX-XXXXXXX                                    )


                       SCHEDULES OF ASSETS AND LIABILITIES FOR
                              BITWISE INDUSTRIES, INC.
                                    Case 23-10845-TMH                  Doc 3         Filed 06/28/23   Page 14 of 334

 Fill in this information to identify the case:

 Debtor name: Bitwise Industries, Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                       Check if this is an
 Case number: 23-00001
                                                                                                                       amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                               $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                         $175,518,556.69
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                           $175,518,556.69
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                       $12,702,514.92
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                      $87,760.95
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                $239,240,735.04
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                   $252,031,010.91
 Lines 2 + 3a + 3b
                                        Case 23-10845-TMH                  Doc 3         Filed 06/28/23             Page 15 of 334

   Fill in this information to identify the case:

   Debtor name: Bitwise Industries, Inc.

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 23-00001
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                     $635.70

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           Bank of America, NA                                              Checking                     0674                                                           $0.00
Bank balance is as of June 21, 2023.


 3.2
           Central Valley Community Bank                                    Checking                     3224                                                      Unknown

Bank accounts with Central Valley Community Bank were frozen on 6/6/2023 and may have been closed. The account balances as of Petition date is unknown as current
management cannot access these accounts.

 4. Other cash equivalents (Identify all)
 4.1
           Central Valley Community Bank - CD                                                                                                                    $167,325.00

Matured 10/19/22 and still reflected on balance sheet. There was no documentation available to indicate that there was a new CD account.


 4.2
           US Bank-Standby Letter of Credit                                                                                                                      $140,250.00

There was a standby letter of credit issued by US Bank for the benefit of De Lage Landen Financial Services for the amount of $140,250. This amount is recorded on the
balance sheet. We assume that this is collateral, although we do not have any support.
Debtor     Bitwise Industries, Inc._________________________________________________               Case number (if known) 23-00001________________________________________
           Name
                                         Case 23-10845-TMH                 Doc 3         Filed 06/28/23             Page 16 of 334
  5. Total of Part 1
  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                              $308,210.70


  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.


                                                                                                                                       Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Security Deposit-Camber Leased Equip.                                                                                                              $216,405.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Prepaid Event/Trade Show - National League of Cities                                                                                                  $8,333.30


  8.2
            Prepaid Expenses - Apple Financial Services                                                                                                           $9,044.56


  8.3
            Prepaid Expenses - ZoomInfo Technologies, LLC                                                                                                       $15,558.76


  8.4
            Prepaid Expenses -FiscalNote, Inc                                                                                                                     $4,662.50


  8.5
            Prepaid Expenses -Tulsa Regional Chamber                                                                                                               $319.36


  8.6
            Prepaid Insurance - James G Parker Insurance                                                                                                        $12,828.78


  8.7
            Prepaid Professional Services - The Council of State Governments                                                                                      $7,692.35

  8.8
            Prepaid Software Subscription - GoTo Technologies USA, inc.                                                                                              $45.48


  8.9
            Prepaid Software Subscription - Lever Inc.                                                                                                            $8,289.33


  8.10
            Prepaid Software Subscription - Pitchbook                                                                                                             $5,357.14

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                              $288,536.56


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.
Debtor   Bitwise Industries, Inc._________________________________________________                     Case number (if known) 23-00001________________________________________
         Name
                                      Case 23-10845-TMH                        Doc 3         Filed 06/28/23             Page 17 of 334

                                                                                                                                             Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                      $0.00      —                                        $0.00   = ........                                     $0.00
            less:
                                  face amount                                  doubtful or uncollectible accounts

  11b.      Over 90 days old:                             $23,432.87       —                                        $0.00   = ........                               $23,432.87

                                  face amount                                  doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                     $23,432.87


  Part 4:    Investments

  13. Does the debtor own any investments?

     No. Go to Part 5.

     Yes. Fill in the information below.


                                                                                                Valuation method used for current            Current value of debtor’s interest
                                                                                                value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
            None                                                                                                                                                            $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            None                                                                                                                                                            $0.00

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
            None                                                                                                                                                            $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                           $0.00


  Part 5:    Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.


   General description                                          Date of         Net book value of               Valuation method used        Current value of debtor’s interest
                                                                the last        debtor's interest               for current value
                                                                physical        (Where available)
                                                                inventory

  19. Raw materials
  19.1
                                                                                                                                                                            $0.00
Debtor     Bitwise Industries, Inc._________________________________________________                Case number (if known) 23-00001________________________________________
           Name
                                      Case 23-10845-TMH                     Doc 3          Filed 06/28/23            Page 18 of 334
  20. Work in progress
  20.1
                                                                                                                                                                        $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                        $0.00

  22. Other inventory or supplies
  22.1
                                                                                                                                                                        $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                    Book value                                      Valuation method                                         Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                          Net book value of           Valuation method used        Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                        $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                        $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                        $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                        $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                        $0.00
Debtor     Bitwise Industries, Inc._________________________________________________              Case number (if known) 23-00001________________________________________
           Name
                                        Case 23-10845-TMH                   Doc 3        Filed 06/28/23            Page 19 of 334
  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                    $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                           No

                           Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                      Book value                                   Valuation method                                      Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:       Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.


   General description                                                        Net book value of           Valuation method used       Current value of debtor’s interest
                                                                              debtor's interest           for current value
                                                                              (Where available)
  39. Office furniture
  39.1
               Furniture and Fixtures                                                   $26,030.66      Net Book Value                                         $26,030.66
 The cost of assets is as of December 31, 2021 with accumulated depreciation as of April 30, 2023. There was no information provided related to any asset purchases since
 December 2021. Additionally, it is unclear if any of these assets are leased.

  40. Office fixtures
  40.1
               See AB 39                                                                                                                                             $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
               Computer Equipment                                                       $13,894.98      Net Book Value                                         $13,894.98

 The cost of assets is as of December 31, 2021 with accumulated depreciation as of April 30, 2023. There was no information provided related to any asset purchases since
 December 2021. Additionally, it is unclear if any of these assets are leased.


  41.2
               Other Office Equipment                                                   $62,726.34      Net Book Value                                         $62,726.34

 The cost of assets is as of December 31, 2021 with accumulated depreciation as of April 30, 2023. There was no information provided related to any asset purchases since
 December 2021. Additionally, it is unclear if any of these assets are leased.
Debtor    Bitwise Industries, Inc._________________________________________________                           Case number (if known) 23-00001________________________________________
          Name
                                          Case 23-10845-TMH                         Doc 3           Filed 06/28/23                Page 20 of 334
  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
            None                                                                                                                                                                            $0.00

  43. Total of Part 7

  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                   $102,651.98


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,                  debtor's interest                 for current value
   HIN, or N-number)                                                                  (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  2020 Toyota Corolla LE (VIN JTDEPRAE3LJ085141)                                                         $0.00        Net Book Value                                                        $0.00

  47.2
  2020 Toyota Tundra SR5 4x4 (VIN 5TFDY5F13LX916786)                                                     $0.00        Net Book Value                                                        $0.00


  47.3
  2020 Toyota Tundra SR5 4x4 (VIN 5TFDY5F16LX911131)                                                     $0.00        Net Book Value                                                        $0.00


  47.4
  2020 Toyota Tundra SR5 4x4 (VIN 5TFDY5F14LX910804)                                                     $0.00        Net Book Value                                                        $0.00


  47.5
  2021 Buick Envision Essence (VIN LRBFZNR4XMD052705)                                                    $0.00        Net Book Value                                                        $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
  None                                                                                                                                                                                      $0.00

  49. Aircraft and accessories
  49.1
  None                                                                                                                                                                                      $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  None                                                                                                                                                                                      $0.00

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                                          $0.00
Debtor    Bitwise Industries, Inc._________________________________________________                  Case number (if known) 23-00001________________________________________
          Name
                                       Case 23-10845-TMH                     Doc 3         Filed 06/28/23                Page 21 of 334
  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                         Nature and extent of          Net book value of            Valuation method used          Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest            for current value              debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
             1635 M. Street, Merced, California                Leased Building               Unknown                       Net Book Value                Undetermined

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                          $0.00


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.


   General description                                                         Net book value of             Valuation method used          Current value of debtor’s interest
                                                                               debtor's interest             for current value
                                                                               (Where available)
  60. Patents, copyrights, trademarks, and trade secrets

  60.1
             See Schedule AB 60 Attachment                                                      $0.00       N/A                         Undetermined

  61. Internet domain names and websites
  61.1
             See Schedule AB 61 Attachment                                    Undetermined                  N/A                         Undetermined
Debtor    Bitwise Industries, Inc._________________________________________________                   Case number (if known) 23-00001________________________________________
          Name
                                        Case 23-10845-TMH                    Doc 3          Filed 06/28/23               Page 22 of 334
  62. Licenses, franchises, and royalties
  62.1
             None                                                                                                                                                        $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
             None                                                                                                                                                        $0.00

  64. Other intangibles, or intellectual property
  64.1
             None                                                                                                                                                        $0.00

  65. Goodwill
  65.1
             None                                                                                                                                                        $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                        $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             Loan to Arlanwashere LLC                        $$,631,432.07                                          $0.00   =                                    $631,432.07
                                                                                        -
                                               total face amount                             doubtful or uncollectible
                                                                                             amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
             Federal NOL                                                                              Tax year   2015                                           $1,371,315.00

  72.2
             Federal NOL                                                                              Tax year   2016                                           $1,787,721.00

  72.3
             Federal NOL                                                                              Tax year   2020                                           $8,513,918.00
Debtor    Bitwise Industries, Inc._________________________________________________                 Case number (if known) 23-00001________________________________________
          Name
                                     Case 23-10845-TMH                       Doc 3         Filed 06/28/23              Page 23 of 334
  Based on 2021 Tax Return

  73. Interests in insurance policies or annuities
  73.1
           The Scottsdale Insurance Company/Nationwide Management Liability & Specialty Policy                                            Undetermined
           (Policy No. #EKS3423969) 4/30/2023-4/30/2024


  73.2
           Unknown                                                                                                                        Undetermined
 Only insurance invoices, but not the policies were available other than the D&O policy. As a result, it is unclear which entities are covered under the policies other than those
 on the invoice.

  Only insurance invoices, but not the policies were available. As a result, it is unclear which entities are covered under the policies other than those on the invoice.




  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
            Unknown                                                                                                                       Undetermined

  Nature of Claim
  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
            None                                                                                                                                                             $0.00
  Nature of Claim
  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
           None                                                                                                                                                              $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership

  77.1
           Intercompany Receivable-1680 14th Street, LLC                                                                                                                    $20.00

  77.2
           Intercompany Receivable-1701 18th Street, LLC                                                                                                            $163,138.57


  77.3
           Intercompany Receivable-1701 Partners, LLC                                                                                                               $505,250.00


  77.4
           Intercompany Receivable-1723 18th Street, LLC                                                                                                            $220,903.33

  77.5
           Intercompany Receivable-747 R Street, LLC                                                                                                                $540,487.12

  77.6
           Intercompany Receivable-747 R Street, LLC                                                                                                              $1,443,234.49

  77.7
           Intercompany Receivable-Alpha Works Technologies, LLC                                                                                                 $33,205,681.41

  77.8
           Intercompany Receivable-Bitwise Partners I GP, LLC                                                                                                           $800.00

  77.9
           Intercompany Receivable-BitwiseBKF, LLC                                                                                                                $2,947,360.00


  77.10
           Intercompany Receivable-BLDG Services, LLC                                                                                                            $26,805,066.34
Debtor    Bitwise Industries, Inc._________________________________________________              Case number (if known) 23-00001________________________________________
          Name
                                      Case 23-10845-TMH                    Doc 3        Filed 06/28/23            Page 24 of 334

  77.11
           Intercompany Receivable-Bruce's Bagels Beverages and Bites LLC                                                                                   $697,099.70


  77.12
           Intercompany Receivable-BW Capital Management Services LLC                                                                                           $800.00


  77.13
           Intercompany Receivable-BW Childcare, LLC                                                                                                        $278,706.09


  77.14
           Intercompany Receivable-BW Industries Inc.                                                                                                     $9,910,060.46


  77.15
           Intercompany Receivable-BWRD, LLC                                                                                                             $17,639,635.85


  77.16
           Intercompany Receivable-Hashtag Cowork, LLC                                                                                                    $2,151,158.69


  77.17
           Intercompany Receivable-My Design Deals, LLC                                                                                                   $1,321,119.13


  77.18
           Intercompany Receivable-New Excambium LLC                                                                                                        $337,441.67

  77.19
           Intercompany Receivable-OMW APP, LLC.                                                                                                         $10,314,568.93

  77.20
           Intercompany Receivable-Shift3 Technologies, LLC                                                                                              $51,901,513.93

  77.21
           Intercompany Receivable-Techtonic Group, Inc.                                                                                                    $388,382.71

  77.22
           Intercompany Receivable-Wishon Row, LLC.                                                                                                       $1,671,175.48

  77.23
           Leasehold Improvements - Fresno                                                                                                                   $47,734.61


  77.24
           Unknown Loan Payments or Loan Receivables (See AB 77 Attachment)                                                         Undetermined

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                      $174,795,724.58


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes
Debtor    Bitwise Industries, Inc._________________________________________________                Case number (if known) 23-00001________________________________________
          Name
                                         Case 23-10845-TMH                    Doc 3      Filed 06/28/23               Page 25 of 334
  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                           Current value of             Current value of real
                                                                              personal property            property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.               $308,210.70

  81. Deposits and prepayments. Copy line 9, Part 2.                                   $288,536.56

  82. Accounts receivable. Copy line 12, Part 3.                                        $23,432.87


  83. Investments. Copy line 17, Part 4.                                                     $0.00

  84. Inventory. Copy line 23, Part 5.                                                       $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                              $0.00


  86. Office furniture, fixtures, and equipment; and collectibles. Copy                $102,651.98
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                              $0.00


  88. Real property. Copy line 56, Part 9.                                                                                $0.00


  89. Intangibles and intellectual property.. Copy line 66, Part 10.                         $0.00

  90. All other assets. Copy line 78, Part 11.                                    $174,795,724.58


  91. Total. Add lines 80 through 90 for each column                   91a.                                            91b.
                                                                                 $175,518,556.69                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                        $175,518,556.69
                     Case 23-10845-TMH           Doc 3     Filed 06/28/23     Page 26 of 334
                                          SCHEDULE AB 60 ATTACHMENT
                                                  Trademarks
                                  Registration                              Net Book    Valuation     Current
    General Description               No.        Country        Status       Value       Method        Value
                                   5483618     United States   Registered       $0.00      N/A      Undetermined




          HASHTAG                   5399344    United States   Registered       $0.00     N/A       Undetermined
                                    5578043    United States   Registered       $0.00     N/A       Undetermined




                                    5428574    United States   Registered       $0.00     N/A       Undetermined




                                    4792809    United States   Registered       $0.00     N/A       Undetermined
         GEEKWISE
         ACADEMY




In re: Bitwise Industries, Inc.                      Page 1 of 1
                     Case 23-10845-TMH       Doc 3    Filed 06/28/23      Page 27 of 334
                                      SCHEDULE AB 61 ATTACHMENT
                                     Internet Domain Names and Websites
                                                As of May 2022



                 General Description      Net Book Value       Valuation Method   Current Value
            6degreesmrm.com                  Undetermined             N/A          Undetermined
            aerostarscheduler.com            Undetermined             N/A          Undetermined
            alphaworks.tech                  Undetermined             N/A          Undetermined
            amillionfirsts.com               Undetermined             N/A          Undetermined
            amillionfirsts.com               Undetermined             N/A          Undetermined
            atbitwise.com                    Undetermined             N/A          Undetermined
            bako.vc                          Undetermined             N/A          Undetermined
            bitwise.company                  Undetermined             N/A          Undetermined
            bitwise.industries               Undetermined             N/A          Undetermined
            bitwise.shop                     Undetermined             N/A          Undetermined
            bitwiseimpact.com                Undetermined             N/A          Undetermined
            bitwiseimpact.org                Undetermined             N/A          Undetermined
            bitwiseindustries.com            Undetermined             N/A          Undetermined
            bitwiseindustries.dev            Undetermined             N/A          Undetermined
            bitwiseindustries.me             Undetermined             N/A          Undetermined
            bitwiseindustries.net            Undetermined             N/A          Undetermined
            bitwiseindustries.org            Undetermined             N/A          Undetermined
            bitwiseindustries.us             Undetermined             N/A          Undetermined
            bitwiseventures.com              Undetermined             N/A          Undetermined
            blackbeltfoods.com               Undetermined             N/A          Undetermined
            brucesbagels.com                 Undetermined             N/A          Undetermined
            bwi.io                           Undetermined             N/A          Undetermined
            bwrd.io                          Undetermined             N/A          Undetermined
            bwshare.com                      Undetermined             N/A          Undetermined
            caltrailblazer.com               Undetermined             N/A          Undetermined
            caltrailblazers.com              Undetermined             N/A          Undetermined
            cencaldreamin.com                Undetermined             N/A          Undetermined
            centripoint.io                   Undetermined             N/A          Undetermined
            conceptcourse.com                Undetermined             N/A          Undetermined
            coworkhashtag.com                Undetermined             N/A          Undetermined
            doubletimefitnessfresno.com      Undetermined             N/A          Undetermined
            fres.vc                          Undetermined             N/A          Undetermined
            getloopdin.com                   Undetermined             N/A          Undetermined
            gostudentvoice.com               Undetermined             N/A          Undetermined
            hashtagcowork.space              Undetermined             N/A          Undetermined
            hashtagcoworkplace.com           Undetermined             N/A          Undetermined
            hashtagcoworkspace.com           Undetermined             N/A          Undetermined
            hashtagwork.space                Undetermined             N/A          Undetermined
            hashtagworkplace.com             Undetermined             N/A          Undetermined
            helpdocumentation.net            Undetermined             N/A          Undetermined
            insitely.io                      Undetermined             N/A          Undetermined
            merced.vc                        Undetermined             N/A          Undetermined
            mydesigndeals.com                Undetermined             N/A          Undetermined
            ninjafoodapp.com                 Undetermined             N/A          Undetermined
            ninjafoodsapp.com                Undetermined             N/A          Undetermined
            nplhfest.com                     Undetermined             N/A          Undetermined
            okquarantine.com                 Undetermined             N/A          Undetermined
            onwardak.org                     Undetermined             N/A          Undetermined
            onwardal.org                     Undetermined             N/A          Undetermined
            onwardar.org                     Undetermined             N/A          Undetermined

In re: Bitwise Industries, Inc.
                                                 Page 1 of 3
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                                       SCHEDULE AB 61 ATTACHMENT
                                      Internet Domain Names and Websites
                                                 As of May 2022



               General Description       Net Book Value        Valuation Method   Current Value
            onwardas.org                    Undetermined              N/A          Undetermined
            onwardaz.org                    Undetermined              N/A          Undetermined
            onwardca.org                    Undetermined              N/A          Undetermined
            onwardco.org                    Undetermined              N/A          Undetermined
            onwardct.org                    Undetermined              N/A          Undetermined
            onwarddc.org                    Undetermined              N/A          Undetermined
            onwardde.org                    Undetermined              N/A          Undetermined
            onwardfl.org                    Undetermined              N/A          Undetermined
            onwardga.org                    Undetermined              N/A          Undetermined
            onwardhi.org                    Undetermined              N/A          Undetermined
            onwardia.org                    Undetermined              N/A          Undetermined
            onwardid.org                    Undetermined              N/A          Undetermined
            onwardil.org                    Undetermined              N/A          Undetermined
            onwardin.org                    Undetermined              N/A          Undetermined
            onwardks.org                    Undetermined              N/A          Undetermined
            onwardky.org                    Undetermined              N/A          Undetermined
            onwardla.org                    Undetermined              N/A          Undetermined
            onwardma.org                    Undetermined              N/A          Undetermined
            onwardmd.org                    Undetermined              N/A          Undetermined
            onwardme.org                    Undetermined              N/A          Undetermined
            onwardmi.org                    Undetermined              N/A          Undetermined
            onwardmn.org                    Undetermined              N/A          Undetermined
            onwardmo.org                    Undetermined              N/A          Undetermined
            onwardms.org                    Undetermined              N/A          Undetermined
            onwardmt.org                    Undetermined              N/A          Undetermined
            onwardnd.org                    Undetermined              N/A          Undetermined
            onwardne.org                    Undetermined              N/A          Undetermined
            onwardnewhampshire.org          Undetermined              N/A          Undetermined
            onwardnj.org                    Undetermined              N/A          Undetermined
            onwardnm.org                    Undetermined              N/A          Undetermined
            onwardnorthcarolina.org         Undetermined              N/A          Undetermined
            onwardnv.org                    Undetermined              N/A          Undetermined
            onwardny.org                    Undetermined              N/A          Undetermined
            onwardoh.org                    Undetermined              N/A          Undetermined
            onwardok.org                    Undetermined              N/A          Undetermined
            onwardonair.com                 Undetermined              N/A          Undetermined
            onwardon-air.com                Undetermined              N/A          Undetermined
            onward-onair.com                Undetermined              N/A          Undetermined
            onwardor.org                    Undetermined              N/A          Undetermined
            onwardpa.org                    Undetermined              N/A          Undetermined
            onwardpr.org                    Undetermined              N/A          Undetermined
            onwardri.org                    Undetermined              N/A          Undetermined
            onwardsc.org                    Undetermined              N/A          Undetermined
            onwardsouthdakota.org           Undetermined              N/A          Undetermined
            onwardtn.org                    Undetermined              N/A          Undetermined
            onwardtx.org                    Undetermined              N/A          Undetermined
            onwardus.org                    Undetermined              N/A          Undetermined
            onwardusa.org                   Undetermined              N/A          Undetermined
            onwardut.org                    Undetermined              N/A          Undetermined
            onwardva.org                    Undetermined              N/A          Undetermined

In re: Bitwise Industries, Inc.
                                                 Page 2 of 3
                     Case 23-10845-TMH        Doc 3    Filed 06/28/23       Page 29 of 334
                                        SCHEDULE AB 61 ATTACHMENT
                                       Internet Domain Names and Websites
                                                  As of May 2022



                 General Description      Net Book Value        Valuation Method   Current Value
            onwardvi.org                     Undetermined              N/A          Undetermined
            onwardvt.org                     Undetermined              N/A          Undetermined
            onwardwa.org                     Undetermined              N/A          Undetermined
            onwardwi.org                     Undetermined              N/A          Undetermined
            onwardwv.org                     Undetermined              N/A          Undetermined
            onwardwy.org                     Undetermined              N/A          Undetermined
            ordrsites.com                    Undetermined              N/A          Undetermined
            ordrslice.pizza                  Undetermined              N/A          Undetermined
            ordrslip.co                      Undetermined              N/A          Undetermined
            ordrslip.com                     Undetermined              N/A          Undetermined
            ordrsliponline.com               Undetermined              N/A          Undetermined
            podtogether.io                   Undetermined              N/A          Undetermined
            podup.io                         Undetermined              N/A          Undetermined
            podupapp.com                     Undetermined              N/A          Undetermined
            podupnow.com                     Undetermined              N/A          Undetermined
            quarantinepodup.com              Undetermined              N/A          Undetermined
            schedlines.com                   Undetermined              N/A          Undetermined
            shftthree.com                    Undetermined              N/A          Undetermined
            shift3tech.com                   Undetermined              N/A          Undetermined
            shifthree.com                    Undetermined              N/A          Undetermined
            shouldicomein.com                Undetermined              N/A          Undetermined
            sixdegreesmrm.com                Undetermined              N/A          Undetermined
            slowthespread.io                 Undetermined              N/A          Undetermined
            tacoboutbitwise.com              Undetermined              N/A          Undetermined
            takecareapp.org                  Undetermined              N/A          Undetermined
            tatstat.io                       Undetermined              N/A          Undetermined
            tatterlabs.com                   Undetermined              N/A          Undetermined
            techitoutbw.com                  Undetermined              N/A          Undetermined
            tech-it-out-bw.com               Undetermined              N/A          Undetermined
            tenzinworks.com                  Undetermined              N/A          Undetermined
            thatpod.life                     Undetermined              N/A          Undetermined
            useclark.io                      Undetermined              N/A          Undetermined
            usesixdegrees.com                Undetermined              N/A          Undetermined
            wearetenzin.com                  Undetermined              N/A          Undetermined
            yourquarantinepod.com            Undetermined              N/A          Undetermined
            zestyfoodapp.com                 Undetermined              N/A          Undetermined
            zestyfoodsapp.com                Undetermined              N/A          Undetermined




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                     Case 23-10845-TMH            Doc 3     Filed 06/28/23       Page 30 of 334
                                        SCHEDULE AB 77 ATTACHMENT
                                    Unknown Loan Payments or Loan Receivables


                           General Description (*)      Net Book Value          Current Value
                       0711                                 $270,009.62           Undetermined
                       2112, LLC                          $2,213,500.00           Undetermined
                       Advanced Cap Group                   $145,000.00           Undetermined
                       Arturo Ceballos                       $27,500.00           Undetermined
                       Beginning Balance                    $204,528.43           Undetermined
                       BMT Capital Group                    $305,000.00           Undetermined
                       BW Cap Management                      $7,886.85           Undetermined
                       Delta                                $410,832.00           Undetermined
                       Diesel Funding                       $131,277.01           Undetermined
                       Hardie Enterprises, Inc.           $1,127,777.78           Undetermined
                       Ida Lopez                             $71,500.00           Undetermined
                       ITIL Works Limited                    $17,500.00           Undetermined
                       Jake Soberal                         $116,500.00           Undetermined
                       Keith M. Jizmejian                    $20,562.52           Undetermined
                       KMI Group Loan                        $50,000.00           Undetermined
                       Lamar Bunts                           $94,102.17           Undetermined
                       Narai Ventures LLC                   $451,428.55           Undetermined
                       OnDeck                               $270,432.81           Undetermined
                       Patrick Investments LLC              $137,500.00           Undetermined
                       Prime Advance                         $62,327.00           Undetermined
                       Ryan McCallum                         $52,089.34           Undetermined
                       Sharon Vineall                        $55,000.00           Undetermined
                       Square                               $205,000.00           Undetermined
                       TFC Bridge Fund                       $79,500.00           Undetermined
                       Ultra Funding, LLC                   $240,000.00           Undetermined
                       Unknown Payment                    $2,430,994.50           Undetermined
                       Velocity Capital Group LLC           $350,000.00           Undetermined
                       Wellen Capital, LLC                   $88,673.00           Undetermined
                       X-Team International                  $23,040.00           Undetermined
                       Yes Capital                          $310,750.00           Undetermined
                                                 Total:   $9,970,211.58          Undetermined

                       (*) The above asset balances fall into three possible categories. 1)
                       Loan payments were made by Bitwise Industries, but the loan was
                       issued by another entity; 2) Loan payments were made by Bitwise
                       Industries and the Loan was never recorded on Bitwise Industries
                       books; 3) Bitwise Industries provided loans to these parties or overpaid
                       loan amount and the balance represents a loan receivable.

                       Without additional information it is difficult to determine which category
                       they fall into.




In re: Bitwise Industries, Inc.
                                                      Page 1 of 1
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  Fill in this information to identify the case:

  Debtor name: Bitwise Industries, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 23-00001
                                                                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor    Column A                         Column B
separately for each claim.
                                                                                                              Amount of Claim                  Value of collateral that
                                                                                                              Do not deduct the value of       supports this claim
                                                                                                              collateral.

2.1
                                                        Describe debtor's property that is subject to        $6,178,874.46 plus additional    Unknown
            1861 Acquisition LLC                        the lien:                                            unliquidated amounts
            c/o Field Point Servicing LLC               Tax Refunds
            5 Greenwich Office Park
            Suite 440                                   Describe the lien
            Greenwich, CT 06831                         Seller of Tax Refund Claim

                                                        Is the creditor an insider or related party?
           Date debt was incurred?                         No
           10/7/2022
                                                           Yes
           Last 4 digits of account number
                                                        Is anyone else liable on this claim?
           Do multiple creditors have an interest          No
           in the same property?
                                                           Yes. Fill out Schedule H: Codebtors(Official
               No
                                                       Form 206H)
               Yes. Specify each creditor, including    As of the petition filing date, the claim is:
                                                        Check all that apply.
          this creditor, and its relative priority.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed
Debtor   Bitwise Industries, Inc._________________________________________________                       Case number (if known) 23-00001________________________________________
         Name
                                         Case 23-10845-TMH                       Doc 3        Filed 06/28/23              Page 32 of 334

  2.2
                                                         Describe debtor's property that is subject to          $2,499,732.43 plus additional      Unknown
            Greenline CDF Subfund XXXVI LLC              the lien:                                              unliquidated amounts
            c/o GZ Impact Fund I, L.P.                   All personal property
            1324 15th Street
            Denver, CO 80202                             Describe the lien
            andy.walvoord@greenlineventures.com          Guarantor of term loan under Junior Credit
                                                         and Security Agreement
           Date debt was incurred?                       Is the creditor an insider or related party?
           3/3/2022
                                                            No
           Last 4 digits of account number
                                                            Yes
                                                         Is anyone else liable on this claim?
           Do multiple creditors have an interest
           in the same property?                            No

                No                                          Yes. Fill out Schedule H: Codebtors(Official
                Yes. Specify each creditor, including   Form 206H)
                                                         As of the petition filing date, the claim is:
          this creditor, and its relative priority.
                                                         Check all that apply.
           906 Ventures, LLC (senior, 1st); GZ
           Impact Fund I, L.P. (subordinated,                 Contingent
           2nd); Greenline CDF Subfund XXXVI                  Unliquidated
           LLC (subordinated, 3rd); Sobrato
           Family Foundation (subordinated, 4th)              Disputed


  2.3
                                                         Describe debtor's property that is subject to          $1,023,908.03 plus additional      Unknown
            GZ Impact Fund I, L.P.                       the lien:                                              unliquidated amounts
            1324 15th Street                             All personal property
            Denver, CO 80202
            andy.walvoord@greenlineventures.com          Describe the lien
                                                         Guarantor of term loan under Amended and
           Date debt was incurred?                       Restated Loan and Security Agreement
           3/3/2022                                      Is the creditor an insider or related party?
           Last 4 digits of account number                  No

                                                            Yes
           Do multiple creditors have an interest
                                                         Is anyone else liable on this claim?
           in the same property?
                                                            No
                No
                                                            Yes. Fill out Schedule H: Codebtors(Official
                Yes. Specify each creditor, including
                                                        Form 206H)
          this creditor, and its relative priority.
                                                         As of the petition filing date, the claim is:
           906 Ventures, LLC (senior, 1st); GZ
                                                         Check all that apply.
           Impact Fund I, L.P. (subordinated,
           2nd); Greenline CDF Subfund XXXVI                  Contingent

           LLC (subordinated, 3rd); Sobrato                   Unliquidated
           Family Foundation (subordinated, 4th)
                                                              Disputed
Debtor   Bitwise Industries, Inc._________________________________________________                        Case number (if known) 23-00001________________________________________
         Name
                                           Case 23-10845-TMH                      Doc 3        Filed 06/28/23              Page 33 of 334

  2.4
                                                          Describe debtor's property that is subject to          $3,000,000 plus additional         Unknown
             Sobrato Family Foundation                    the lien:                                              unliquidated amounts
             Attn: Christy Richardson                     All personal property
             599 Castro Street
             Suite 400                                    Describe the lien
             Mountain View, CA 94041                      Guarantor of Secured Promissory Note
             crichardson@sobrato.com                      Is the creditor an insider or related party?
                                                             No
             Date debt was incurred?
             3/30/2022                                       Yes
             Last 4 digits of account number              Is anyone else liable on this claim?
                                                             No
             Do multiple creditors have an interest
                                                             Yes. Fill out Schedule H: Codebtors(Official
             in the same property?
                 No                                      Form 206H)
                                                          As of the petition filing date, the claim is:
                 Yes. Specify each creditor, including    Check all that apply.

            this creditor, and its relative priority.          Contingent
             906 Ventures, LLC (senior, 1st); GZ
                                                               Unliquidated
             Impact Fund I, L.P. (subordinated,
             2nd); Greenline CDF Subfund XXXVI                 Disputed
             LLC (subordinated, 3rd); Sobrato
             Family Foundation (subordinated, 4th)


  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     $12,702,514.92
  Page, if any.
  Part 2:     List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                               On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                                  the related creditor?                       this entity

  3.1
                                                                                                 2.2
            Greenline CDF Subfund XXXVI LLC
            c/o Brownstein Hyatt Farber Schreck, LLP
            Attn: Jay Spader
            410 17th Street
            Denver, CO 80205
            jspader@bhfs.com


  3.2
                                                                                                 2.3
            GZ Impact Fund I, L.P.
            c/o Brownstein Hyatt Farber Schreck, LLP
            Attn: Jay Spader
            410 17th Street
            Denver, CO 80209
            jspader@bhfs.com
Debtor   Bitwise Industries, Inc._________________________________________________          Case number (if known) 23-00001________________________________________
         Name
                                    Case 23-10845-TMH                  Doc 3         Filed 06/28/23          Page 34 of 334

  3.3
                                                                                      2.4
           Sobrato Family Foundation
           c/o Morrison & Foerster LLP
           Attn: Susan H. Mac Cormac
           425 Market Street, FL 32
           San Francisco, CA 94105
           smaccormac@mofo.com
                                        Case 23-10845-TMH                    Doc 3           Filed 06/28/23              Page 35 of 334

  Fill in this information to identify the case:

  Debtor name: Bitwise Industries, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 23-00001
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:       Undetermined                   Undetermined
           Abera Gezmu - Address Redacted                                Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
                                                                              Unliquidated

           Last 4 digits of account number                                    Disputed
                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured                 Unpaid Wages
           claim:
                                                                         Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                             No

                                                                             Yes

2.2
                                                                         As of the petition filing date, the claim is:       Undetermined                   Undetermined
           Abigail Schoettler - Address Redacted                         Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
                                                                              Unliquidated

           Last 4 digits of account number                                    Disputed

                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured                 Unpaid Wages
           claim:                                                        Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                             No

                                                                             Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                    Case 23-10845-TMH                  Doc 3          Filed 06/28/23               Page 36 of 334

  2.3
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adam Castro - Address Redacted                          Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.4
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adam Lopez - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.5
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adam Weaver - Address Redacted                          Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.6
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adrian-Angel Zamudio - Address Redacted                 Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.7
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adriana Orozco - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.8
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Adriana Soto - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.9
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Aida Semunegus - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.10
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Aimee Cubbage - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.11
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Albert O'Kelly - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.12
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alberto Villalpando - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.13
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alejandro Gutierrez - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.14
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alejandro Rodriguez - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.15
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alejandro Soto - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.16
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Aleksis Pettineli - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.17
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alex Hamilton - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.18
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alex Treas - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.19
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexa VanHooser - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.20
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexander Hussain-Leon - Address Redacted               Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.21
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexander Jones - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.22
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexander Taylor - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.23
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexandriah Cortes - Address Redacted                   Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.24
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alexis Ramirez - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.25
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alfonso Martinez - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.26
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alicia Brookshire - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.27
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alireza Nadiri - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.28
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alison Torres - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.29
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alissa Turnipseed - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.30
                                                                   As of the petition filing date, the claim is:                    $86.31                     $86.31
           Allison Thurner - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
           5/1/2023                                                    Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.31
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Allyssa Idell - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.32
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alondria Wright - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.33
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alwyn Green - Address Redacted                          Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.34
                                                                   As of the petition filing date, the claim is:                    $635.11                    $635.11
           Alynia Phillips - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
           Various                                                     Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.35
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alysha Francisco-Douglas - Address Redacted             Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.36
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alyssa Burkert - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.37
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alyssa Gallegos - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.38
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Alyssandra Ruiz - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.39
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amairany Chavez - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.40
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Ardemagni - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.41
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Dominguez - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.42
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Fillpot - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.43
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Gee - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.44
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Lewis - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.45
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amanda Valdez - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.46
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amani Karboji - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.47
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amber Carpenter - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.48
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amber Landes - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.49
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amber Mathew - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.50
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amber Zaragoza - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.51
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amir Rezvani Sarabi - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.52
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amy Lopez - Address Redacted                            Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.53
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Amy Thelen - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.54
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ana Perez Santos - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.55
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anastasia Allen - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.56
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andre Nunn - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.57
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andrea Pacheco - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.58
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andres Medina - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.59
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andres Vargas Quintana - Address Redacted               Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.60
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andrew Castillo - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.61
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andrew DeSanctis - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.62
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andrew Pethoud - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.63
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           AnduAlem Yohannes - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.64
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Andy Trinh - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.65
                                                                   As of the petition filing date, the claim is:                    $15.00                     $15.00
           Anesha Robinson Jenkins - Address Redacted              Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
           3/3/2023                                                    Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.66
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Angela McNeal - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.67
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Angelica Cano - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.68
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anjelica Sofia Ambrosio - Address Redacted              Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.69
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anna Ingels - Address Redacted                          Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.70
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anna Page - Address Redacted                            Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.71
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Arosemena - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.72
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Chacon - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.73
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Haddad - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.74
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Protho - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.75
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Speaks - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.76
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Anthony Washington - Address Redacted                   Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.77
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Antonio-Angel Medel - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.78
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ariana Orozco - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.79
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Arinola Alade - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.80
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Arturo Ceballos - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.81
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Arturo Jr Almanza Solorio - Address Redacted            Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.82
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Aryca Gordon - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.83
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ashley Atalla - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.84
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ashley Early - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.85
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ashley Marchetti - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.86
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ashley Scott - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.87
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Askenaw Demsash - Address Redacted                      Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.88
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Austin Gaines - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.89
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Austin Higgins - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.90
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Austin Reilly - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.91
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Ava Turner - Address Redacted                           Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.92
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Avery Andrew - Address Redacted                         Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.93
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Aynadis Mantegaftot - Address Redacted                  Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.94
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Azucena Gonzalez - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed

                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes


  2.95
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Babak Chehraz - Address Redacted                        Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  2.96
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Bailee Rauenhorst - Address Redacted                    Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.97
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Balaji Vadlamudi - Address Redacted                     Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:                                                  Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes

  2.98
                                                                   As of the petition filing date, the claim is:     Undetermined               Undetermined
           Barbara Foster - Address Redacted                       Check all that apply.
                                                                       Contingent
           Date or dates debt was incurred
                                                                       Unliquidated

           Last 4 digits of account number                             Disputed
                                                                   Basis for the claim:
           Specify Code subsection of PRIORITY unsecured           Unpaid Wages
           claim:
                                                                   Is the claim subject to offset?
           11 U.S.C. § 507(a) ( 4 )
                                                                      No

                                                                      Yes
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  2.99
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Basim Elayan - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.100
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Beatrice Alcantar - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.101
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Behatriz Gonzalez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.102
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Belinda Strode - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.103
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bemnet Bemnet - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.104
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Benaiah Larios - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
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  2.105
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Benjamin Adams - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.106
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Benjamin Strickland - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.107
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bennett Robinson - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
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  2.108
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bertha Fonseca - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.109
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bethany Mily - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.110
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bianca Camara - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.111
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bipul Karki - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.112
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bjoern Adden - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.113
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Blanca Juarez Flores - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.114
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bradley Norris - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.115
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brandon Johnson - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.116
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brandon Madueno - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.117
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brandy Moreno - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.118
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brian Foster - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.119
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brian Gadberry - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.120
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Briana Salais - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.121
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brianna Holcomb - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.122
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brittany Shlessinger - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
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  2.123
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brittany Stevens - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.124
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Britteny Scott - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.125
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brittney Cavazos - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.126
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Brooklyn Breslin - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.127
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bryan Feil - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.128
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bryan Vazquez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.129
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bryce Jackson - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.130
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Bryson Loustalot-Gonzalez - Address Redacted            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.131
                                                                    As of the petition filing date, the claim is:                    $300.00                    $300.00
            Caleb Mahlungulu - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/26/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.132
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cameron Gose - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.133
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cameron Roberts - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.134
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Carl Deese - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.135
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Carley Feil - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.136
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Carlos Aparicio - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.137
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Carlos Jackson - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.138
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Carlyn Cadriel - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.139
                                                                    As of the petition filing date, the claim is:                    $30.00                     $30.00
            Carrie Arnold - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.140
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cary Culbertson - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.141
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Caryn Nightengale - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.142
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Casey Lozano - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.143
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Casiano Payawal - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.144
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cecilia Sanchez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.145
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Celeste Barron - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.146
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Celina Kodate - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.147
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Celine Pham - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.148
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chadne Kidd - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.149
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chandler Ray - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.150
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Channelle Charest - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.151
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chantelle Brown - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.152
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Charlene Collazo - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.153
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Charles Ayala - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.154
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Charles Camacho - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.155
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Charles Coatney - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.156
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chata Cartaciano - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.157
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chaz Williams - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.158
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chazz Carrizales - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.159
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cheryl Hall - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.160
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chinita Smith - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.161
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christian Beltran Cardenas - Address Redacted           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.162
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christian Coelho - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.163
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christina Hartman - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.164
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christina Newman - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.165
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christina Robertson - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.166
                                                                    As of the petition filing date, the claim is:                    $25.00                     $25.00
            Christine Farmer - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.167
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christine Goforth - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.168
                                                                    As of the petition filing date, the claim is:               $21,390.12                  $15,150.00
            Christine Montross - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            Various                                                     Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.169
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christine Romero - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.170
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Banks - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.171
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Conard - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.172
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Green - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.173
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Hawkins - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.174
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Merrida - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.175
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Christopher Rocha - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.176
                                                                    As of the petition filing date, the claim is:                    $989.35                    $989.35
            Chrysler Capital - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            2/1/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.177
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Chrystine Villarreal - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.178
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Claire Sarpel - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.179
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Claudia Flores - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.180
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Clinton Burlock - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.181
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Coby Fielding - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.182
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cody Fornof - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.183
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Colin Brothers - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.184
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Colorado Department of Revenue                          Check all that apply.
            Taxation Division
                                                                        Contingent
            1375 Sherman St.
            Denver, CO 80203                                            Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.185
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Conan Everett - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.186
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Concepcion Murillo - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.187
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Connor Lilles - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.188
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Corey Shuman - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.189
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cory Wyse - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.190
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cruz Ramirez Pacheco - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.191
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Crystal Hyde - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.192
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Crystal Maldonado - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.193
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Cynthia Avila - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.194
                                                                    As of the petition filing date, the claim is:     Undetermined               Undetermined
            Daisy Mayorga - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.195
                                                                    As of the petition filing date, the claim is:                     $379.54                   $379.54
            Dakota Cameron - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/6/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.196
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Dana Lucio - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.197
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Daneen Johnson - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.198
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Daniel Hernandez Sanchez - Address Redacted             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.199
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Daniel Pulido - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.200
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Danielle Rivers - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.201
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Danielle Williamson - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.202
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Danny Solis - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.203
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Darren Agellon - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.204
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Daryl Doane - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.205
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Cuevas - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.206
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Lopez Ramirez - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.207
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Lu Beck - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.208
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Orozco - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.209
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Ramirez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.210
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Sheehe - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.211
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            David Trent - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.212
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Dawn Murphy - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.213
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Debbie Pacheco - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.214
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Deborah Milian - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.215
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Deidra Pettigrew - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.216
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Deidra Wallert - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.217
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Deorinio Agellon - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.218
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Derek Linan - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.219
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Derek Morris - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.220
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Derek Payton - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.221
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Derrick Dejean - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.222
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Desiree Isaacs - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.223
                                                                    As of the petition filing date, the claim is:                     $564.79                   $564.79
            Destiny Cedano - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            5/1/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.224
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Destiny Gutierrez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.225
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Detra Sheard-White - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.226
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Diana Robles - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.227
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Diana Segura - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.228
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Dionicio Rodriguez - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.229
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            District of Columbia                                    Check all that apply.
            Office Of Tax And Revenue
                                                                        Contingent
            1101 4Th St. Sw # 270
            Washington, DC 20024                                        Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes

                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.230
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Dominic Maestas - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.231
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Donelle Hall - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.232
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Donna Karissa Anne Mapanao - Address Redacted           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.233
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ebonie Castano - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.234
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Edgar Gutierrez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.235
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ehsan Afkhami - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.236
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elias Gutierrez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.237
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Eliseo Perales - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.238
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elisha Vicary - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.239
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Del Real Parras - Address Redacted            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.240
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Eidelson - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.241
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Fernando - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.242
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Flores - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.243
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Langlois - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.244
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Mondragon - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.245
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Negrete - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.246
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth Quintero - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.247
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elizabeth-Agnes Gaw - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.248
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ellis Gibson - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.249
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elmehdi Aitbrahim - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.250
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elsa McKay - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.251
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Elysse Garcia - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.252
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emelia Guadarrama - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.253
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emely Sanchez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.254
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emily Martinez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.255
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emily Vagim - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.256
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emmanuel Kanu - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.257
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Emmylou Dowling - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.258
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Enrique Anchondo - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.259
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Eric Fox - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.260
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Eric Nystrem - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.261
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Eric Ortega - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.262
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Erik Montes - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.263
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Erin Hustings - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.264
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Erin Mackey - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.265
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ernesto Perez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.266
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Esmeralda Lopez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.267
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Esteban Ceballos - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.268
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Esteban Solis Loya - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.269
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Estefania Flores - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.270
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ethan Foster - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.271
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Eva Ramirez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.272
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Evan Nebeker - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.273
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Fabian Maldonado - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.274
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Faith Orozco - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.275
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Faizan Faruq - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.276
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Fatima Ubaldo - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.277
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Florence Ramos - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.278
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Florencia Lopez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.279
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Floyd Munoz - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.280
                                                                    As of the petition filing date, the claim is:                     $800.00                   $800.00
            Franchise Tax Board                                     Check all that apply.
            PO Box 942857
                                                                        Contingent
            Sacramento, CA 94257-4040
                                                                        Unliquidated
            Date or dates debt was incurred
            4/1/2021                                                    Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Taxes

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes


  2.281
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Franchise Tax Board                                     Check all that apply.
            PO Box 942857
                                                                        Contingent
            Sacramento, CA 94257-4040
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Taxes

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.282
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Francisco Garibay - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.283
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Frank Martinez Medina - Address Redacted                Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.284
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Fredrick Cacal - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.285
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gabriel Fo - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.286
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gabriel Rios - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.287
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gabriela Melendez Olivera - Address Redacted            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.288
                                                                    As of the petition filing date, the claim is:                     $338.63                   $338.63
            Gabriela Melendez-Olivier - Address Redacted            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/27/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.289
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gabriela Trujillo - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.290
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Garrett Johnson - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.291
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gena Perez - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.292
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Genesis Mangunay - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.293
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Geovana Zepeda - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.294
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gerome Howard - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.295
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Giovann Mena - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.296
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Glenn Walker - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.297
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Grace Ann Aranico - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.298
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Grace Birnam - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.299
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Graciela Sandoval Alarcon - Address Redacted            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.300
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Graham Brock - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.301
                                                                    As of the petition filing date, the claim is:               $35,000.00                  $15,150.00
            Grant Thornton                                          Check all that apply.
            801 Brickell Ave., Suite 2450
                                                                        Contingent
            Miami, FL 33131-4943
                                                                        Unliquidated
            Date or dates debt was incurred
            8/23/2022                                                   Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Unpaid Wages

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 4 )
                                                                       Yes


  2.302
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gregory Goforth - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.303
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Guadalupe Luna Manzo - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.304
                                                                    As of the petition filing date, the claim is:              $148,782.00                  $15,150.00
            Gunderson Dettmer - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            Various                                                     Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.305
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gursimran Singh - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.306
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Gustavo Castillo - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.307
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hana Lema - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.308
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hannah Vick - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.309
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hannibal Guerrero - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.310
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hans Kam - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.311
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Harrison Mills - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.312
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Harrison Stamps - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.313
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Harry Bodan - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.314
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Haylie Taylor - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.315
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Heather Kircher - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.316
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Heather Schrage - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.317
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hillary Thompson - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.318
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Himadri Sinha - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.319
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hiroyuki Xiong - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.320
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Homar Cardenas - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.321
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Hope Finch - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.322
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Howard Luong - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.323
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ian Perez - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.324
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ian Thomas - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.325
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ida Lopez Solis - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.326
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Iesha Green - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.327
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Internal Revenue Service                                Check all that apply.
            PO Box 7346
                                                                        Contingent
            Philadelphia, PA 19101-7346
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Taxes

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes

  2.328
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Irene Hurtado - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.329
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Izabell Franco - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.330
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            J Concepcion Figueroa Salazar Jr - Address Redacted     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.331
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Aguilar - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.332
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Burich - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.333
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Condie - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.334
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Cosio - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.335
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Hernandez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.336
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Paul - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.337
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacob Stamm - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.338
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacque Haynes - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.339
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacqueline Callaway - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.340
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jacquelyn Solano - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.341
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jaden McKeough - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.342
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jaime Lopez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.343
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jake Smith - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.344
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            James Damian - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.345
                                                                    As of the petition filing date, the claim is:                     $54.37                    $54.37
            James Downing - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.346
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            James Taylor - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.347
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            James Valdeabella - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.348
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Janelle Sanders - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.349
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Janie Whaley - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.350
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jasmin White - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.351
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jasmine Bonilla - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.352
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jason Cooksey - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.353
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Javier Cavazos - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.354
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jayflor Sarmiento - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.355
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jazer Liner - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.356
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jazmin Santana Garcia - Address Redacted                Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.357
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jazmine Barnes - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.358
                                                                    As of the petition filing date, the claim is:                     $349.40                   $349.40
            Jeanae DuBois - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            5/8/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.359
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeanette Chavez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.360
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeanine Olguin - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.361
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeanne Nunoo - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.362
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeff Rickels - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.363
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeffrey Chandler - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.364
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeffrey Rios - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.365
                                                                    As of the petition filing date, the claim is:                $2,172.62                   $2,172.62
            Jenn Guerra - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            2/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.366
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jennifer Baird - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.367
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jennifer Granados - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.368
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jennifer Lewis - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.369
                                                                    As of the petition filing date, the claim is:                      $30.00                    $30.00
            Jennifer Sanderson - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.370
                                                                    As of the petition filing date, the claim is:                     $521.80                   $521.80
            Jeramy Brown - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            2/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.371
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jeremy Cordero - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.372
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jermaine Roquemore - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.373
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jesse Sanchez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.374
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jessica Daniels - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.375
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jessica Lopez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.376
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jesus Pedraza - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.377
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jett Willard - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.378
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jimmy Hinojosa - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.379
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joanna Wirth - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.380
                                                                    As of the petition filing date, the claim is:               $45,000.00                  $15,150.00
            Joaquin Alvarado - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            Various                                                     Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.381
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jocelyn Bustamante Barraza - Address Redacted           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.382
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jocelynn Mireles - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.383
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jody Hicks - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.384
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joel Perez - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.385
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            John De Palm - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.386
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            John Gustafson - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.387
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            John Lee Sanders - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.388
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Johnathan Holifield - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.389
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jonathan Fuller - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.390
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jonathan Swart - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.391
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jonathan Walker - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.392
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jonathon Vargas - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.393
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jordan Kliss - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.394
                                                                    As of the petition filing date, the claim is:                     $30.00                    $30.00
            Jordan Morales - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/14/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.395
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jordan Sanchez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.396
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jose Cabrera - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.397
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Jose Hernandez Tecpoyotl - Address Redacted             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.398
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joseph Gustafson - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.399
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joseph Verduzco - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.400
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joseph Wheelock - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.401
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Josh Dunlavy - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.402
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joshua Logan - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.403
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joshua Shaughnessy - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.404
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Joshwin Greene - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.405
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan Gomez - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.406
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan Hernandez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.407
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan Sandate - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.408
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan Solis Olvera - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.409
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan Ubaldo - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.410
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Juan-Antonio Ardemagni - Address Redacted               Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.411
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Julian Torres - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.412
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Julie Gray - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.413
                                                                    As of the petition filing date, the claim is:                $6,159.92                   $6,159.92
            Julie Lynn Urbanik - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/24/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.414
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Julieta Castillo - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.415
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Justin Cox - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.416
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Justin Domingo - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.417
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Justin Sherrod - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.418
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kahlan Serjeant - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.419
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kaila Webb - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.420
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kaitlyn Taylor - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.421
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kalkidan Tadesse - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.422
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kamran Williams - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.423
                                                                    As of the petition filing date, the claim is:                     $300.00                   $300.00
            Kamron Cooks - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            5/15/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.424
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Karen Scott - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.425
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Karlha Davies - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.426
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Karma Drukpa - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.427
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kasandra Jimenez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.428
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Katherine Burrows - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.429
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Katherine Dunne - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.430
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Katherine Giouzelis - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.431
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kathryn Sanchez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.432
                                                                    As of the petition filing date, the claim is:                $1,266.44                   $1,266.44
            Kathryn Simmons - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.433
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Katie Darling - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.434
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Katrina Riggs - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.435
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kayla McFarland - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.436
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kayla Vargas - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.437
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kaylene Perez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.438
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Keith Jizmejian - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.439
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Keith McCarthy - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.440
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Keizra Tyson - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.441
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kelli Aparicio - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.442
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kelly Meza - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.443
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kendrick Mausolf - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.444
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kennan Scott - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.445
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kenneth Clements - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.446
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kenneth Ferrell - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.447
                                                                    As of the petition filing date, the claim is:                     $40.00                    $40.00
            Kevin Arambula - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.448
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kevin Day - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.449
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kevin Keo - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.450
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kevin Steinkirchner - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.451
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kevin Vu - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.452
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            KhiavDim Lee - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.453
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kiana Parsons - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.454
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            KiJuan McNeal - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.455
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kim Williams - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.456
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kimberly Lamastus - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.457
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kimberly Munoz - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.458
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kimiko Marius - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.459
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kobie Jones - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.460
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kristin Belden - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.461
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kristin Bonillas - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.462
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kristina Cool - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.463
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kurt Sterling - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.464
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kyle Lawson - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.465
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Kyrsten Dawson - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.466
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lakana Bun - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.467
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Landon Brokaw - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.468
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Laura Brundage - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.469
                                                                    As of the petition filing date, the claim is:                     $27.00                    $27.00
            Laura Maristany Santamaria - Address Redacted           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/14/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.470
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Laura Martinez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.471
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Laura Orozco - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.472
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Laura Splotch - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.473
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lauren Baker - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.474
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lauren Enriquez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.475
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Leah Sadoian - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.476
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Leakana Y - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.477
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lenae Valle - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.478
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Leonard Ruggiero jr - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.479
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            LeSean Shaw - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.480
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Leslie Wolff - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.481
                                                                    As of the petition filing date, the claim is:                     $400.00                   $400.00
            Liliana Mireles - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/26/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.482
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lillyanna Azevedo - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.483
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Linda Hergenrader - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.484
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Linda Sandoval - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.485
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lindsey Saltz - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.486
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lindsey Woodruff - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.487
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lisa Moore - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.488
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lisa Penner - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.489
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lizette Carranza - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.490
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lonnell McGhee - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.491
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luc Phan - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.492
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ludwig Dischner - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.493
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ludwin Granados - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.494
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luis Gonzalez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.495
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luis Reyes - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.496
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luis Rosario - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.497
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luis Sampaio - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.498
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luke Breshears - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.499
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Luther Cork - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.500
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lwam Ghebregergish - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.501
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Lylian Banderas - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.502
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Madisen Gross - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.503
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Madison Shrader - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.504
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mai Holmquist - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.505
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Malakai Rola - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.506
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mancuso-Luna - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.507
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Manuel Christopher Uytiepo - Address Redacted           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.508
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Manuel Deniz - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.509
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Marco Chavez Jr - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.510
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Maria Espinoza - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.511
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Maria Mayorga - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.512
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Maria Navarro - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.513
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mario Soberal - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.514
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Marisa Spain - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.515
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mark Daniel Rocas - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.516
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mark Rogers - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.517
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Markus Kantarci - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.518
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mary Honor - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.519
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Matthew Cruz - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.520
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Matthew Higley - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.521
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Matthew McCoy - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.522
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Maureen Podolsky - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.523
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mauricio Cifuentes - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.524
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mauro Mustillo - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.525
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mayra Silva - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.526
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Megan Steinert - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.527
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Meghan Seitz - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.528
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Melanie Hacker - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.529
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Melissa McCullar - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.530
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Melissa Perry - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.531
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Melissa Varela - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.532
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Melissa Williams - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.533
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mercedes Louis - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.534
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Merhawit Gubsa - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.535
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Meskerem Bekele - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.536
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miaka Hardcastle - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.537
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Chrisco - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.538
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael De Los Santos - Address Redacted                Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.539
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Fillmore Wallert - Address Redacted             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.540
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Major - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.541
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Ramos - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.542
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Waymire - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.543
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michael Wilhelm - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.544
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michaela Murphy - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.545
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michelle Aspinall - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.546
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michelle Dunn - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.547
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michelle Millben - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.548
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michelle Morse - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.549
                                                                    As of the petition filing date, the claim is:                     $919.93                   $919.93
            Michelle Skoor - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            2/27/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.550
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Michelle Talley - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.551
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miguel Alarcon Jr - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.552
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miguel Hernandez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.553
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miguel Macias Flores - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.554
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miguel Rivas - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.555
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mikal Dominguez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.556
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miles Sebesta - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.557
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Mimia Chen Chen - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.558
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miranda Gomez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.559
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Miranda Ragland - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.560
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Moises Gutierrez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.561
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Monica Dominguez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.562
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Monica Drewry - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.563
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Monica McCutcheon - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.564
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Monique Islas - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.565
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Monique Rivera - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.566
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Morgan Barnes - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.567
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Morufu Salami - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.568
                                                                    As of the petition filing date, the claim is:                $9,250.00                   $9,250.00
            Moss Adams - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            Various                                                     Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.569
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Natalie Feil - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.570
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Natasha Felkins - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.571
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nathalie Cervantes - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.572
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nathan Brown - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.573
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nathaniel Hancock-Harris - Address Redacted             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.574
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nathen Guerrero - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.575
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Neda Rohani - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.576
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Neptali Montez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.577
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nevaeh Davalos - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.578
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nicolas Hackler - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.579
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nicole Archuleta - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.580
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nicole Leisle - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.581
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nicolette Uchima - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.582
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nihar Bheemanathi - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.583
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nina Odisho - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.584
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Nina Waste - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.585
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Noelle Samuels - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.586
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Norma Cardona - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.587
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Olga Cortez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.588
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Olivia Heller - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.589
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pachoua Yang - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.590
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pamela Daniels - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.591
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pamela Holliday - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.592
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Paola De Orbeta Ramirez - Address Redacted              Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.593
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Paola Zarza Mora - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.594
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pardeep Sanghera - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.595
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Patricia Parra De Sepulveda - Address Redacted          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.596
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Patrick Killebrew - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.597
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Paul Chavez-Casanova - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.598
                                                                    As of the petition filing date, the claim is:                     $256.50                   $256.50
            Pavindeep Kang - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/19/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.599
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Paylocity Corporation                                   Check all that apply.
            1400 American Lane
                                                                        Contingent
            Schaumburg, IL 60173
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Unpaid wage garnishments

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.600
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pedro Garza - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.601
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Perla Flores Ortega - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.602
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Phaven Berhe - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.603
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pooja Patel - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.604
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Pratima Sakinala - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.605
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Preston Moore - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.606
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Preston Pinson - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.607
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Priscilla Presto - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.608
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rachael Cahill - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.609
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rachel Hands - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.610
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rachel Ward - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.611
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rachel Winder - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.612
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rachelle Martinez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.613
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Raeanne Di Tiero - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.614
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ramadan El-Assir - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.615
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Randy Guerra - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.616
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Raquel Garcia - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.617
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Raquel Zaragoza - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.618
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rasmeyh Salem - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.619
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Raul Luis-Lopez - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.620
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Regina Davalos - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.621
                                                                    As of the petition filing date, the claim is:                     $318.13                   $318.13
            Renaldo DaSilva - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            5/1/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.622
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Reut Hadley - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.623
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rey Nicholas Abaldonado - Address Redacted              Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.624
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Reyna Quesada - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.625
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rhieanne Saunders - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.626
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ricardo Espain - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.627
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ricardo Simpao - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.628
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Richard Ou - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.629
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rickey Lynch Jr - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.630
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rickey Mcbride - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.631
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rigo Aguilar - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.632
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Robert Cleveland - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.633
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Robert Garcia - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.634
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Robert Main - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.635
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Robert Nelson - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.636
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Roberto Canales - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.637
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rocio Pruett - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.638
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rory Banks - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.639
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rosa Saldana Lemus - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.640
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rosa Zuniga-Lopez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.641
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rosalinda Gonzalez - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.642
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rose Presto - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.643
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rosemary Novelyne Trinh - Address Redacted              Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.644
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Rosi Quinones - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.645
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ross Charest - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.646
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Roxanne Finks - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.647
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ruben Juarez - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.648
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ruben Lopez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.649
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ruby Stengel - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.650
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ryan Granger - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.651
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ryan McCallum - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.652
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Ryan Valdeabella - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.653
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sac Cnty Sheriff Court Services - Civil                 Check all that apply.
            2969 Prospect Park Drive, Suit 200
                                                                        Contingent
            Rancho Cordova, CA 95670
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Taxes

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.654
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sadie Cobb - Address Redacted                           Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.655
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Saige Shafer - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.656
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Salvador Lucatero Jr - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.657
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Salvador Martinez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.658
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Samantha Kline - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.659
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Samuel Lopez - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.660
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Samuel Rosenberg - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.661
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sandi Olguin - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.662
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sandra Guerrero - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.663
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sandra Juarez De Chavez - Address Redacted              Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.664
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Santana Olguin - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.665
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sara Kojaku - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.666
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sara Lively - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.667
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sara Pantoja - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.668
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sarah Cullen - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.669
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sarah Gaytan - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.670
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sarah Passmore - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.671
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sarah Raspberry - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.672
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sarika Anoop - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.673
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sasha Holmes - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.674
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Scott Garrison - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.675
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sean Callahan-Dinish - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.676
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            See Xiong - Address Redacted                            Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.677
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Serenity Grimes - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.678
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shagun Srivastava - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.679
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shannon FitzGerald - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.680
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shaquana Valentine - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.681
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shavonne Garibay - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.682
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shawn Rodrigues - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.683
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sheana VanDyne - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.684
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shelby Burlock - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.685
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shelby Hinkey - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.686
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shelley Manser - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.687
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shelly Lovell - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.688
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Shereen Salem - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.689
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sindhu Hegde - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.690
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            St. Nicholas Burrus - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.691
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stacie McDonald - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.692
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Alabama                                        Check all that apply.
            50 N. Ripley St.
                                                                        Contingent
            State of Alabama
            Montgomery, AL 36130                                        Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.693
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of California                                     Check all that apply.
            State Board Of Equalization
                                                                        Contingent
            450 N Street, Mic:121
            Sacramento, CA 94279-0121                                   Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes

                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.694
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Florida                                        Check all that apply.
            Department Of Revenue
                                                                        Contingent
            P.O. Box 6668
            Tallahassee, FL 32314-6668                                  Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.695
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Hawaii                                         Check all that apply.
            Hawaii State Department Of Taxation
                                                                        Contingent
            75 Aupuni Street #101
            Hilo, HI 96720-4245                                         Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes

                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.696
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Indiana                                        Check all that apply.
            Indiana Department Of Revenue
                                                                        Contingent
            100 N. Senate Ave
            Indianapolis, IN 46204                                      Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.697
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Nevada                                         Check all that apply.
            Department Of Taxation
                                                                        Contingent
            1550 College Parkway, Suite 115
            Carson City, NV 89706                                       Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.698
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of New York Dept. of Taxation And Finance         Check all that apply.
            Bankruptcy Section
                                                                        Contingent
            P.O. Box 5300
            Albany, NY 12205-0300                                       Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes

                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.699
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Ohio                                           Check all that apply.
            Ohio Department of Taxation
                                                                        Contingent
            4485 Northland Ridge Blvd.
            Columbus, OH 43229                                          Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.700
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Texas                                          Check all that apply.
            Texas Comptroller Of Pub. Accounts
                                                                        Contingent
            P.O. Box 13528, Capitol Station
            Austin, TX 78711-3528                                       Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.701
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Virginia                                       Check all that apply.
            Virginia Department Of Taxation
                                                                        Contingent
            1957 Westmoreland Street
            Richmond, VA 23230                                          Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes

                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.702
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Washington                                     Check all that apply.
            Depart Of Revenue
                                                                        Contingent
            P.O. Box 47473
            Olympia, WA 98504-7463                                      Unliquidated

            Date or dates debt was incurred                             Disputed

                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.703
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            State of Wyoming                                        Check all that apply.
            Wyoming Department of Revenue
                                                                        Contingent
            122 West 25th Street, 3Rd Floor E.
            Cheyenne, WY 82002-0110                                     Unliquidated

            Date or dates debt was incurred                             Disputed
                                                                    Basis for the claim:
            Last 4 digits of account number                         Taxes
                                                                    Is the claim subject to offset?
            Specify Code subsection of PRIORITY unsecured              No
            claim:
                                                                       Yes
            11 U.S.C. § 507(a) ( 8 )

  2.704
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephanie Lu - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.705
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephanie Moreno - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.706
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephanie Velasco - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.707
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephen Andersen - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.708
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephen Hetblack - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.709
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Stephen Russell - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.710
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Steven Broadway - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.711
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Steven Duran - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.712
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Steven James - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.713
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Steven Johansen - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.714
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Sumira Musaad - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.715
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Talisha Brantley - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.716
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tammi Sherman - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.717
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tammie Singh - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.718
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tanea Smith - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.719
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tanya Gonzales - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.720
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tanya Lopez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.721
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Taryn DeBoard - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.722
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tatevik Hovhannisyan - Address Redacted                 Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.723
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tayler McQuilliams - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.724
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Taylor Moore - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.725
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tequiliana Fertil - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.726
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Teri McCullar - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.727
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Terry Blankenship - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.728
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tessa Williamson - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.729
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Thomas Heppner - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.730
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Thomas King - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.731
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Thomas Painter - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.732
                                                                    As of the petition filing date, the claim is:                     $32.50                    $32.50
            Thomas Taing - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/28/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.733
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Thomas Tyler - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.734
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Thomas Wise - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.735
                                                                    As of the petition filing date, the claim is:                     $665.37                   $665.37
            Thomson Reuters - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            2/1/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.736
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tiffany Bailey - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.737
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tiffany Ollison - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.738
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Timothy Cisneros - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.739
                                                                    As of the petition filing date, the claim is:                     $156.28                   $156.28
            Timothy Woudenberg - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/6/2023                                                    Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.740
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tina Lee - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.741
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tina Nguyen - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.742
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tom Alperin - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.743
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tommy Le - Address Redacted                             Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.744
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Toni Martin - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.745
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tony Cardenas - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.746
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tonya Peden - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.747
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tonya Santillan - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.748
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tracy Maratas - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.749
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Trenton Lively - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.750
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Trevor Ford - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.751
                                                                    As of the petition filing date, the claim is:                     $46.96                    $46.96
            Trevor Thomas-Uribe - Address Redacted                  Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
            4/18/2023                                                   Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.752
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tristen Bradex - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.753
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            TX Child Support SDU                                    Check all that apply.
            PO 659791
                                                                        Contingent
            San Antonio, TX 78265
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Unpaid wage garnishments

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes


  2.754
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tyler Whitsett - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.755
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Tyresha Johnson - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.756
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            U.S. Department of the Treasury                         Check all that apply.
            Post Office Box 979101
                                                                        Contingent
            St. Louis, MO 63197
                                                                        Unliquidated
            Date or dates debt was incurred
                                                                        Disputed

            Last 4 digits of account number                         Basis for the claim:
                                                                    Taxes

            Specify Code subsection of PRIORITY unsecured           Is the claim subject to offset?
            claim:                                                     No
            11 U.S.C. § 507(a) ( 8 )
                                                                       Yes


  2.757
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Valerie Castro - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.758
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vanessa Aguilar - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.759
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vanessa Ceballos - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.760
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vanessa Hinojosa - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.761
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vanessa Munoz - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.762
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vanessa Rodriguez - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.763
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Veleda Oltjenbruns - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.764
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Veronica Anderson - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.765
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Veronica Lopez - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.766
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Veronica Torres - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.767
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Victor Carranza - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.768
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Victoria Lemons - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.769
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Vinson Fernandez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.770
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Virginia Whalen - Address Redacted                      Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  2.771
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Viridiana Hussain-Leon - Address Redacted               Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.772
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Viviana Sepulveda - Address Redacted                    Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.773
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Voni Humphreys - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.774
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Wendy Perez - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.775
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            William Miskiewicz - Address Redacted                   Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.776
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Wuillmarrud West - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.777
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Yalitza Leyva - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.778
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Yasangi Grubel - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.779
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Yemsrach Beshe - Address Redacted                       Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.780
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Yesenia Perez - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.781
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Yvette Hernandez - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.782
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zachary Abelanet - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.783
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zachary Angel - Address Redacted                        Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes


  2.784
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zachary Gill - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.785
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zaida Ramos - Address Redacted                          Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  2.786
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zayn King-Dollie - Address Redacted                     Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.787
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zenet Beshir - Address Redacted                         Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed

                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:                                                  Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes

  2.788
                                                                    As of the petition filing date, the claim is:      Undetermined              Undetermined
            Zoraida Martinez Duarte - Address Redacted              Check all that apply.
                                                                        Contingent
            Date or dates debt was incurred
                                                                        Unliquidated

            Last 4 digits of account number                             Disputed
                                                                    Basis for the claim:
            Specify Code subsection of PRIORITY unsecured           Unpaid Wages
            claim:
                                                                    Is the claim subject to offset?
            11 U.S.C. § 507(a) ( 4 )
                                                                       No

                                                                       Yes
Debtor   Bitwise Industries, Inc._________________________________________________                       Case number (if known) 23-00001________________________________________
         Name
                                      Case 23-10845-TMH                         Doc 3         Filed 06/28/23                Page 298 of 334
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                                   $7,754.08
            8x8 Inc.                                                                           Check all that apply.
            675 Creekside Way
                                                                                                    Contingent
            Campbell, CA 95008
                                                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                                                 Disputed
                                                                                               Basis for the claim:
                                                                                               Trade Vendor
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes


  3.2
                                                                                               As of the petition filing date, the claim is:                                $540,000.00
            747 R Street, LLC                                                                  Check all that apply.
            700 Van Ness Avenue
                                                                                                    Contingent
            Fresno, CA 93721
                                                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                                                 Disputed
                                                                                               Basis for the claim:
                                                                                               Intercompany Payable

                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes


  3.3
                                                                                               As of the petition filing date, the claim is:                                $163,000.00
            1701 18th Street, LLC                                                              Check all that apply.
            700 Van Ness Avenue
                                                                                                    Contingent
            Fresno, CA 93721
                                                                                                    Unliquidated
            Date or dates debt was incurred
            Various                                                                                 Disputed
                                                                                               Basis for the claim:
                                                                                               Intercompany Payable

                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                    Case 23-10845-TMH                 Doc 3          Filed 06/28/23              Page 299 of 334

  3.4
                                                                                     As of the petition filing date, the claim is:                       $124,000.00
           1701 Partners, LLC                                                        Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.5
                                                                                     As of the petition filing date, the claim is:                          $5,500.00
           1715 18th Street, LLC                                                     Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.6
                                                                                     As of the petition filing date, the claim is:                       $220,000.00
           1723 18th Street, LLC                                                     Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.7
                                                                                     As of the petition filing date, the claim is:              Undetermined
           1861 Acquisition LLC                                                      Check all that apply.
           c/o Field Point Servicing LLC
                                                                                         Contingent
           5 Greenwich Office Park
           Suite 440                                                                     Unliquidated
           Greenwich, CT 06831
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     Litigation

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                   Case 23-10845-TMH                  Doc 3          Filed 06/28/23              Page 300 of 334

  3.8
                                                                                     As of the petition filing date, the claim is:                         $28,150.00
           1903 Public Relations Inc                                                 Check all that apply.
           2491 Alluvial Ave
                                                                                         Contingent
           Suite 36
           Clovis, CA 93611                                                              Unliquidated

           Date or dates debt was incurred                                               Disputed
           4/9/2023                                                                  Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.9
                                                                                     As of the petition filing date, the claim is:                       $100,000.00
           Albert Whitney O Kelly - Address Redacted                                 Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           7/31/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.10
                                                                                     As of the petition filing date, the claim is:                         $17,500.00
           Alpha Works Technologies, Inc.                                            Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           12/31/2022                                                                    Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.11
                                                                                     As of the petition filing date, the claim is:                      $3,742,355.29
           ALPHA WORKS TECHNOLOGIES, LLC                                             Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  3.12
                                                                                     As of the petition filing date, the claim is:                            $900.30
           AlphaGraphics                                                             Check all that apply.
           3950 N Chestnut Diag, Suite 107
                                                                                         Contingent
           Fresno, CA 93726
                                                                                         Unliquidated
           Date or dates debt was incurred
           2/9/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.13
                                                                                     As of the petition filing date, the claim is:                       $463,034.00
           American Express                                                          Check all that apply.
           200 Vesey Street
                                                                                         Contingent
           New York, NY 10285
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Credit Card
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.14
                                                                                     As of the petition filing date, the claim is:                          $1,000.00
           Andenet Meredaja Edit - Address Redacted                                  Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           10/19/2021                                                                    Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.15
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Andrew Nunn, et al.                                                       Check all that apply.
           Raisner Roupinian LLP
                                                                                         Contingent
           Attn: Gail C. Lin
           2945 Townsgate Road, Suite 200                                                Unliquidated
           Westlake Village, CA 91361
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     Litigation
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  3.16
                                                                                     As of the petition filing date, the claim is:                         $40,353.79
           Apple Financial Services                                                  Check all that apply.
           1111 Old Eagle School Road
                                                                                         Contingent
           Wayne, PA 19087
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.17
                                                                                     As of the petition filing date, the claim is:                          $1,157.78
           Audi Financial Services                                                   Check all that apply.
           PO BOX 5215
                                                                                         Contingent
           Carol Stream, IL 60197-5215
                                                                                         Unliquidated
           Date or dates debt was incurred
           5/1/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.18
                                                                                     As of the petition filing date, the claim is:                         $25,000.00
           Bethany E Mily - Address Redacted                                         Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           12/9/2022                                                                     Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.19
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Bethany Mily - Address Redacted                                           Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Litigation

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  3.20
                                                                                     As of the petition filing date, the claim is:                      $1,525,400.00
           BITWISEBKF, LLC                                                           Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.21
                                                                                     As of the petition filing date, the claim is:                      $5,486,750.71
           BLDG Serves, LLC                                                          Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.22
                                                                                     As of the petition filing date, the claim is:                       $858,361.08
           Blue Shield of California                                                 Check all that apply.
           PO BOX 629032
                                                                                         Contingent
           El Dorado Hills, CA 95762
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.23
                                                                                     As of the petition filing date, the claim is:                         $35,000.00
           Brandfield Investments                                                    Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/19/2022                                                                     Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                   Case 23-10845-TMH                  Doc 3          Filed 06/28/23              Page 304 of 334

  3.24
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Brandon Madueno - Address Redacted                                        Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
                                                                                         Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Litigation

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.25
                                                                                     As of the petition filing date, the claim is:                       $270,500.00
           Bridge Funding                                                            Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/18/2022                                                                     Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.26
                                                                                     As of the petition filing date, the claim is:                          $3,630.00
           BroderickHaight Consulting, LLC                                           Check all that apply.
           141 Broderick Street
                                                                                         Contingent
           5
           San Francisco, CA 94117                                                       Unliquidated

           Date or dates debt was incurred                                               Disputed
           4/28/2023                                                                 Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.27
                                                                                     As of the petition filing date, the claim is:                       $100,000.00
           Bruce's Bagels Beverages and Bites LLC                                    Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  3.28
                                                                                     As of the petition filing date, the claim is:                         $48,373.69
           BW Capital Fund I, LP                                                     Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           11/21/2022, 11/22/2022, 12/6/2022                                             Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.29
                                                                                     As of the petition filing date, the claim is:                       $260,500.00
           BW CHILDCARE, LLC                                                         Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.30
                                                                                     As of the petition filing date, the claim is:                   $212,175,820.24
           BW Industries Inc.                                                        Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.31
                                                                                     As of the petition filing date, the claim is:                       $328,200.00
           BWRD, LLC                                                                 Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                   Case 23-10845-TMH                  Doc 3          Filed 06/28/23              Page 306 of 334

  3.32
                                                                                     As of the petition filing date, the claim is:                            $358.28
           Caltronics Business Systems                                               Check all that apply.
           1801 W OLYMPIC BLVD
                                                                                         Contingent
           FILE 2388
           Pasadena, CA 91199-2388                                                       Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.33
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Camber Road Partners, Inc.                                                Check all that apply.
           Winthrop & Weinstine, P.A.
                                                                                         Contingent
           Attn: Matthew R. McBride
           225 South Sixth Street, 3500 Capella Tower                                    Unliquidated
           Minneapolis, MN 55402
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     Litigation
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.34
                                                                                     As of the petition filing date, the claim is:                            $208.50
           Caplin & Drysdale                                                         Check all that apply.
           One Thomas Circle NW
                                                                                         Contingent
           Suite 1100
           Washington, DC 20005                                                          Unliquidated

           Date or dates debt was incurred                                               Disputed
           1/11/2023                                                                 Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.35
                                                                                     As of the petition filing date, the claim is:                          $2,500.00
           Central Valley Community Foundation                                       Check all that apply.
           5260 N. Palm Avenue, Suite 122
                                                                                         Contingent
           Fresno, CA 93704
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/17/2023                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.36
                                                                                     As of the petition filing date, the claim is:                            $111.47
           Certn, Inc                                                                Check all that apply.
           300-1006 Fort Street
                                                                                         Contingent
           Victoria, BC V8V 3K4
           Canada                                                                        Unliquidated

           Date or dates debt was incurred                                               Disputed
           2/28/2021                                                                 Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.37
                                                                                     As of the petition filing date, the claim is:                       $126,553.49
           Channelle Charest - Address Redacted                                      Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/18/2022, 3/31/2023                                                          Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.38
                                                                                     As of the petition filing date, the claim is:                         $50,000.00
           Chris /Kristy Pacheco - Address Redacted                                  Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           5/20/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.39
                                                                                     As of the petition filing date, the claim is:                          $7,960.00
           Cision US Inc.                                                            Check all that apply.
           12051 Indian Creek Court
                                                                                         Contingent
           Beltsville, MD 20705
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.40
                                                                                     As of the petition filing date, the claim is:                          $6,554.13
           CLS Mitigation & Consulting Services, LLC                                 Check all that apply.
           4522 North Mulberry Court
                                                                                         Contingent
           Kansas City, MO 64116
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/30/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.41
                                                                                     As of the petition filing date, the claim is:                            $393.50
           Cogency Global, Inc                                                       Check all that apply.
           PO BOX 3168
                                                                                         Contingent
           Hicksville, NY 11802
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.42
                                                                                     As of the petition filing date, the claim is:                          $2,596.25
           Concur Technologies, Inc.                                                 Check all that apply.
           62157 Collections Center Drive
                                                                                         Contingent
           Chicago, IL 60693
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/5/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.43
                                                                                     As of the petition filing date, the claim is:                         $25,000.00
           Craig Fourchy                                                             Check all that apply.
           7596 N. Charles Avenue
                                                                                         Contingent
           Fresno, CA 93711
                                                                                         Unliquidated
           Date or dates debt was incurred
           5/13/2022                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.44
                                                                                     As of the petition filing date, the claim is:                       $186,321.78
           Creditor Unknown Loans                                                    Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/23/2022, 12/31/2022                                                         Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.45
                                                                                     As of the petition filing date, the claim is:                            $144.78
           CT Corporation                                                            Check all that apply.
           CT Corporation
                                                                                         Contingent
           208 S. LaSalle Street, Chicago, IL
           Carol Stream, IL 60604                                                        Unliquidated

           Date or dates debt was incurred                                               Disputed
           3/1/2023                                                                  Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.46
                                                                                     As of the petition filing date, the claim is:                            $400.00
           Dakari Dorishon Cleveland                                                 Check all that apply.
           1234 Pottle Ave
                                                                                         Contingent
           Fresno, CA 93706
                                                                                         Unliquidated
           Date or dates debt was incurred
           5/9/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.47
                                                                                     As of the petition filing date, the claim is:                         $26,287.10
           Data Sales Co Inc.                                                        Check all that apply.
           PO BOX 1450, NW 7305
                                                                                         Contingent
           Minneapolis, MN 55485-7305
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.48
                                                                                     As of the petition filing date, the claim is:                            $594.68
           DE LAGE LANDEN FINANCIAL                                                  Check all that apply.
           1111 Old Eagle School Road
                                                                                         Contingent
           Wayne, PA 19087
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.49
                                                                                     As of the petition filing date, the claim is:                          $1,375.00
           Deaf and Hard of Hearing Service Center                                   Check all that apply.
           5340 N Fresno Street
                                                                                         Contingent
           Fresno, CA 93710
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/31/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.50
                                                                                     As of the petition filing date, the claim is:                         $45,000.00
           Debbie Neufeld - Address Redacted                                         Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/19/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.51
                                                                                     As of the petition filing date, the claim is:                         $16,062.29
           Dell Financial Services                                                   Check all that apply.
           PO POX 5292
                                                                                         Contingent
           Carol Stream, IL 60197-5292
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.52
                                                                                     As of the petition filing date, the claim is:                         $58,000.00
           Delta Bridge Partners                                                     Check all that apply.
           150 SE 2nd Ave
                                                                                         Contingent
           Miami, FL 33131
                                                                                         Unliquidated
           Date or dates debt was incurred
           5/25/2022                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Venture Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.53
                                                                                     As of the petition filing date, the claim is:                       $100,000.00
           Denise Solorio - Address Redacted                                         Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/19/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.54
                                                                                     As of the petition filing date, the claim is:                         $12,986.51
           Direct Capital a division of CIT Bank                                     Check all that apply.
           155 Commerce Way
                                                                                         Contingent
           Portsmouth, NH 03801
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/30/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.55
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Eudelia Alderete Bitwise Industries Inc & Travelers Property Casualty     Check all that apply.
           Company of America
                                                                                         Contingent
           Abramson Labor Group
           Attn: Scott Bell                                                              Unliquidated
           11846 Ventura Blvd, Ste 100
           Studio City, CA 91604                                                         Disputed
                                                                                     Basis for the claim:
           Date or dates debt was incurred                                           Litigation
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.56
                                                                                     As of the petition filing date, the claim is:                          $4,768.25
           Fedex                                                                     Check all that apply.
           PO Box 7221
                                                                                         Contingent
           Pasadena, CA 91109-7321
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.57
                                                                                     As of the petition filing date, the claim is:                          $7,471.50
           Fennemore Dowling Aaron                                                   Check all that apply.
           2394 E. Camelback Road, Suite 600
                                                                                         Contingent
           Phoenix, AZ 85016
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.58
                                                                                     As of the petition filing date, the claim is:                            $147.20
           First Insurance Funding                                                   Check all that apply.
           PO Box 7000
                                                                                         Contingent
           Carol Stream, IL 60197-7000
                                                                                         Unliquidated
           Date or dates debt was incurred
           1/27/2023                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.59
                                                                                     As of the petition filing date, the claim is:                         $40,000.00
           Fuentes Strategies, LLC                                                   Check all that apply.
           3121 South Street NW, #130
                                                                                         Contingent
           Washington, DC 20007
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.60
                                                                                     As of the petition filing date, the claim is:              Undetermined
           Garza, et al.                                                             Check all that apply.
           Bonakdar Law Firm
                                                                                         Contingent
           Attn: Roger S. Bonakdar
           2344 Tulare Street, Suite 200                                                 Unliquidated
           Fresno, CA 93721
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     Litigation

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.61
                                                                                     As of the petition filing date, the claim is:                       $119,611.17
           Guardian                                                                  Check all that apply.
           PO BOX 824404
                                                                                         Contingent
           Philadelphia, PA 19182-4404
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.62
                                                                                     As of the petition filing date, the claim is:                          $1,646.40
           Halcyon Behavioral                                                        Check all that apply.
           PO Box 25159
                                                                                         Contingent
           Fresno, CA 93729-5159
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/1/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.63
                                                                                     As of the petition filing date, the claim is:                       $500,000.00
           Hanson Family Trust                                                       Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           11/29/2022                                                                    Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.64
                                                                                     As of the petition filing date, the claim is:                         $71,400.00
           Hashtag Cowork, LLC                                                       Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.65
                                                                                     As of the petition filing date, the claim is:                         $65,000.00
           Hispanic Association of Colleges & Universities erisities (HACU)          Check all that apply.
           4801 NW Loop 410, Suite #701
                                                                                         Contingent
           San Antonio, TX 78229
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.66
                                                                                     As of the petition filing date, the claim is:                          $1,000.00
           Hope Corps Inc                                                            Check all that apply.
           1210 Ford Street
                                                                                         Contingent
           Redlands, CA 92374
                                                                                         Unliquidated
           Date or dates debt was incurred
           8/12/2021                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.67
                                                                                     As of the petition filing date, the claim is:                            $200.00
           Hope N Flint                                                              Check all that apply.
           3523 N San Pablo
                                                                                         Contingent
           Fresno, CA 93704
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/28/2023                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.68
                                                                                     As of the petition filing date, the claim is:                          $2,340.00
           Hopkins & Carley                                                          Check all that apply.
           PO Box 1469
                                                                                         Contingent
           San Jose, CA 95109-1469
                                                                                         Unliquidated
           Date or dates debt was incurred
           1/1/2023                                                                      Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.69
                                                                                     As of the petition filing date, the claim is:                       $588,552.23
           Irma L. Olguin - Address Redacted                                         Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           5/3/2022, 5/25/2022, 8/19/2022                                                Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.70
                                                                                     As of the petition filing date, the claim is:                         $67,395.00
           IronClad, Inc                                                             Check all that apply.
           71 Stevenson Street, #600
                                                                                         Contingent
           San Francisco, CA 94105
                                                                                         Unliquidated
           Date or dates debt was incurred
           12/31/2022                                                                    Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.71
                                                                                     As of the petition filing date, the claim is:                         $16,563.33
           James G Parker Insurance                                                  Check all that apply.
           PO BOX 3947
                                                                                         Contingent
           Fresno, CA 93650
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.72
                                                                                     As of the petition filing date, the claim is:                       $405,153.31
           Kaiser Foundation Health Plan                                             Check all that apply.
           File 5915
                                                                                         Contingent
           Los Angeles, CA 90074-5915
                                                                                         Unliquidated
           Date or dates debt was incurred
           3/1/2023                                                                      Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.73
                                                                                     As of the petition filing date, the claim is:                          $9,293.67
           Kat Taylor Revocable Trust                                                Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           12/20/2022                                                                    Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.74
                                                                                     As of the petition filing date, the claim is:                       $125,000.00
           Kern Community Foundation                                                 Check all that apply.
           5701 Truxtun Ave #110,
                                                                                         Contingent
           Bakersfield, CA 93309
                                                                                         Unliquidated
           Date or dates debt was incurred
                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Grant
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.75
                                                                                     As of the petition filing date, the claim is:                         $75,000.00
           KeyBank Foundation                                                        Check all that apply.
           127 Public Sq Fl Oh-01-27
                                                                                         Contingent
           Cleveland, OH 44114
                                                                                         Unliquidated
           Date or dates debt was incurred
           10/21/2021                                                                    Disputed

                                                                                     Basis for the claim:
                                                                                     Grant

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.76
                                                                                     As of the petition filing date, the claim is:                       $300,000.00
           Kimberly Stillmaker - Address Redacted                                    Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           5/11/2022                                                                     Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.77
                                                                                     As of the petition filing date, the claim is:                          $1,030.00
           Kotman Technology Inc                                                     Check all that apply.
           700 Van Ness Ave
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/16/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.78
                                                                                     As of the petition filing date, the claim is:                         $30,000.00
           KRTM Loan                                                                 Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/19/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.79
                                                                                     As of the petition filing date, the claim is:                            $800.00
           KWYE-FM                                                                   Check all that apply.
           3603 Momentum Place
                                                                                         Contingent
           Chicago, IL 60689
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/16/2023                                                                     Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.80
                                                                                     As of the petition filing date, the claim is:                         $55,000.00
           Landon Brokaw - Address Redacted                                          Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/31/2022                                                                     Unliquidated

                                                                                         Disputed

                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.81
                                                                                     As of the petition filing date, the claim is:                       $164,109.50
           Lowenstein Sandler, LLP                                                   Check all that apply.
           One Lowenstein Drive
                                                                                         Contingent
           Roseland, NJ 07068
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.82
                                                                                     As of the petition filing date, the claim is:                          $2,501.59
           Microage                                                                  Check all that apply.
           PO Box 93655
                                                                                         Contingent
           Las Vegas, NV 89193-3655
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/19/2023                                                                     Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.83
                                                                                     As of the petition filing date, the claim is:                          $2,612.50
           Mill Law Center                                                           Check all that apply.
           50 California Street, Suite 1500
                                                                                         Contingent
           San Francisco, CA 94111
                                                                                         Unliquidated
           Date or dates debt was incurred
           1/1/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.84
                                                                                     As of the petition filing date, the claim is:                         $27,549.15
           My Design Deals, LLC                                                      Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Intercompany Payable

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.85
                                                                                     As of the petition filing date, the claim is:                      $2,508,500.00
           New Excambium LLC                                                         Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.86
                                                                                     As of the petition filing date, the claim is:                         $11,696.58
           New York Life 990011132                                                   Check all that apply.
           BOX 500
                                                                                         Contingent
           Minneapolis, MN 55440-0500
                                                                                         Unliquidated
           Date or dates debt was incurred
           4/1/2023                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.87
                                                                                     As of the petition filing date, the claim is:                          $4,832.93
           New York Life Insurance                                                   Check all that apply.
           28317 Network Place
                                                                                         Contingent
           Chicago, IL 60673-1283
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
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  3.88
                                                                                     As of the petition filing date, the claim is:              Undetermined
           NICBYTE LLC                                                               Check all that apply.
           Duane Morris LLP
                                                                                         Contingent
           Attn: Stephen H. Sutro, Marcus O. Colabianchi, Adrian G. Cadoppi
           Spear Tower, One Market Plaza, Suite 2200                                     Unliquidated
           San Francisco, CA 95105-1127
                                                                                         Disputed
           Date or dates debt was incurred                                           Basis for the claim:
                                                                                     Litigation

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.89
                                                                                     As of the petition filing date, the claim is:                       $720,303.82
           OMW APP, LLC.                                                             Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.90
                                                                                     As of the petition filing date, the claim is:                       $304,618.37
           OnCentive                                                                 Check all that apply.
           2127 1st Ave N
                                                                                         Contingent
           Birmingham, AL 35203
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.91
                                                                                     As of the petition filing date, the claim is:                          $4,207.00
           PatRick Investments, LLC                                                  Check all that apply.
           111 SW Columbia Street, Suite 700
                                                                                         Contingent
           Portland, OR 97201
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
         Name
                                    Case 23-10845-TMH                 Doc 3          Filed 06/28/23              Page 321 of 334

  3.92
                                                                                     As of the petition filing date, the claim is:                         $37,500.00
           Pitchbook                                                                 Check all that apply.
           PO Box 74008609
                                                                                         Contingent
           Chicago, IL 60674-8609
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed

                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.93
                                                                                     As of the petition filing date, the claim is:                          $4,675.91
           Print Shack                                                               Check all that apply.
           802 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.94
                                                                                     As of the petition filing date, the claim is:                       $100,000.00
           Richard Berry - Address Redacted                                          Check all that apply.
                                                                                         Contingent
           Date or dates debt was incurred
           8/19/2022                                                                     Unliquidated

                                                                                         Disputed
                                                                                     Basis for the claim:
                                                                                     Loan

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes

  3.95
                                                                                     As of the petition filing date, the claim is:                            $391.00
           Rotary Club of Fresno                                                     Check all that apply.
           1525 Fulton St.
                                                                                         Contingent
           Suite 11904
           Fresno, CA 93775                                                              Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor   Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
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  3.96
                                                                                     As of the petition filing date, the claim is:                            $500.00
           Sacramento Metropolitan Chamber of Commerce                               Check all that apply.
           One Capitol Mall Suite 700
                                                                                         Contingent
           Sacramento, CA 95814
                                                                                         Unliquidated
           Date or dates debt was incurred
           9/1/2022                                                                      Disputed
                                                                                     Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.97
                                                                                     As of the petition filing date, the claim is:                          $7,320.36
           Sagaser Watkins & Wieland PC                                              Check all that apply.
           5260 N Palm Ave
                                                                                         Contingent
           #400
           Fresno, CA 93704                                                              Unliquidated

           Date or dates debt was incurred                                               Disputed
           Various                                                                   Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.98
                                                                                     As of the petition filing date, the claim is:                      $4,761,921.60
           Shift3 Technologies, LLC                                                  Check all that apply.
           700 Van Ness Avenue
                                                                                         Contingent
           Fresno, CA 93721
                                                                                         Unliquidated
           Date or dates debt was incurred
           Various                                                                       Disputed
                                                                                     Basis for the claim:
                                                                                     Intercompany Payable
                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes


  3.99
                                                                                     As of the petition filing date, the claim is:                         $25,641.14
           Softchoice                                                                Check all that apply.
           314 W Superior St
                                                                                         Contingent
           Suite 400
           Chicago, IL 60654                                                             Unliquidated

           Date or dates debt was incurred                                               Disputed
           3/20/2023                                                                 Basis for the claim:
                                                                                     Trade Vendor

                                                                                     Is the claim subject to offset?
                                                                                        No

                                                                                        Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  3.100
                                                                                      As of the petition filing date, the claim is:              Undetermined
            State of California Department of Industrial Relations                    Check all that apply.
            State of California Department of Industrial Relations
                                                                                          Contingent
            Attn: Labor Commissioner’s Office
            770 E Shaw Ave Ste 222                                                        Unliquidated
            Fresno, CA 93710
                                                                                          Disputed
            Date or dates debt was incurred                                           Basis for the claim:
                                                                                      Litigation

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.101
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            Stefan Ludwig Photo + Video, LLC                                          Check all that apply.
            700 Main Street
                                                                                          Contingent
            Buffalo, NY 14202
                                                                                          Unliquidated
            Date or dates debt was incurred
            4/21/2023                                                                     Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.102
                                                                                      As of the petition filing date, the claim is:                         $14,410.00
            Strategies 360, Inc                                                       Check all that apply.
            PO Box 84851
                                                                                          Contingent
            Seattle, WA 98124-6151
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.103
                                                                                      As of the petition filing date, the claim is:                            $260.00
            T Mobile                                                                  Check all that apply.
            PO Box 742596
                                                                                          Contingent
            Cincinnati, OH 45274-2596
                                                                                          Unliquidated
            Date or dates debt was incurred
            4/1/2023                                                                      Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  3.104
                                                                                      As of the petition filing date, the claim is:                       $215,359.00
            Techton Group, Inc.                                                       Check all that apply.
            700 Van Ness Avenue
                                                                                          Contingent
            Fresno, CA 93721
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Intercompany Payable

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.105
                                                                                      As of the petition filing date, the claim is:                         $65,000.00
            Terry Solis                                                               Check all that apply.
                                                                                          Contingent
            Date or dates debt was incurred
            6/21/2022                                                                     Unliquidated

                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      Loan
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.106
                                                                                      As of the petition filing date, the claim is:                         $50,000.00
            The Council of State Governments                                          Check all that apply.
            1776 Avenue of the States
                                                                                          Contingent
            Lexington, KY 40511-8536
                                                                                          Unliquidated
            Date or dates debt was incurred
            9/29/2022                                                                     Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.107
                                                                                      As of the petition filing date, the claim is:                          $7,220.42
            The Hartford                                                              Check all that apply.
            PO Box 660916
                                                                                          Contingent
            Dallas, TX 75266-0916
                                                                                          Unliquidated
            Date or dates debt was incurred
            4/18/2023                                                                     Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Vendor

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  3.108
                                                                                      As of the petition filing date, the claim is:                          $5,200.00
            The Yard Operating Company LLC                                            Check all that apply.
            700 Penn Ave SE, 2nd Floor
                                                                                          Contingent
            Washington, DC 20003
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Vendor

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.109
                                                                                      As of the petition filing date, the claim is:                         $33,341.50
            Travelers                                                                 Check all that apply.
            PO BO 660317
                                                                                          Contingent
            Dallas, TX 75266-0317
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed

                                                                                      Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.110
                                                                                      As of the petition filing date, the claim is:                         $42,141.49
            Wanger Jones Helsley PC                                                   Check all that apply.
            265 E. River Park Circle, Suite 310
                                                                                          Contingent
            Fresno, CA 93729
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Trade Vendor

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.111
                                                                                      As of the petition filing date, the claim is:                         $25,000.00
            Welcome/Gather Wholesale, Inc                                             Check all that apply.
            440 N Barranca Ave
                                                                                          Contingent
            #8588
            Covina, CA 91723                                                              Unliquidated

            Date or dates debt was incurred                                               Disputed
            5/9/2023                                                                  Basis for the claim:
                                                                                      Trade Vendor

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor    Bitwise Industries, Inc._________________________________________________             Case number (if known) 23-00001________________________________________
          Name
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  3.112
                                                                                      As of the petition filing date, the claim is:                       $225,832.00
            Wellen Capital                                                            Check all that apply.
            600 W Jackson Blvd #750
                                                                                          Contingent
            Chicago, IL 60661
                                                                                          Unliquidated
            Date or dates debt was incurred
                                                                                          Disputed
                                                                                      Basis for the claim:
                                                                                      Venture Loan

                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes


  3.113
                                                                                      As of the petition filing date, the claim is:                       $137,000.00
            Wishon Row, LLC.                                                          Check all that apply.
            700 Van Ness Avenue
                                                                                          Contingent
            Fresno, CA 93721
                                                                                          Unliquidated
            Date or dates debt was incurred
            Various                                                                       Disputed
                                                                                      Basis for the claim:
                                                                                      Intercompany Payable
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.114
                                                                                      As of the petition filing date, the claim is:                             $68.40
            WTI                                                                       Check all that apply.
            1555 N. Rivercenter Dr
                                                                                          Contingent
            Suite 302
            Milwaukee, WI 53212                                                           Unliquidated

            Date or dates debt was incurred                                               Disputed
            1/27/2023                                                                 Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes

  3.115
                                                                                      As of the petition filing date, the claim is:                          $1,000.00
            Youth Leadership Institute.                                               Check all that apply.
            209 9th St
                                                                                          Contingent
            Ste 200
            San Francisco, CA 94103                                                       Unliquidated

            Date or dates debt was incurred                                               Disputed
            10/5/2022                                                                 Basis for the claim:
                                                                                      Trade Vendor
                                                                                      Is the claim subject to offset?
                                                                                         No

                                                                                         Yes
Debtor   Bitwise Industries, Inc._________________________________________________                       Case number (if known) 23-00001________________________________________
         Name
                                        Case 23-10845-TMH                     Doc 3         Filed 06/28/23                   Page 327 of 334
  Part 3:   List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line
            Denise Solorio - Address Redacted                                                   3.53

                                                                                                       Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                                         5a.                                $87,760.95
  5b. Total claims from Part 2                                                                                                         5b.                          $239,240,735.04
  5c. Total of Parts 1 and 2                                                                                                           5c.
                                                                                                                                                                  $239,328,495.99
  Lines 5a + 5b = 5c.
                                    Case 23-10845-TMH                    Doc 3         Filed 06/28/23              Page 328 of 334

  Fill in this information to identify the case:

  Debtor name: Bitwise Industries, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 23-00001
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        Contract No. 500-50230462
        or lease is for and the                                                           Apple Financial Services Powered by De Lage Landen Financial Services, Inc.
        nature of the debtor’s                                                            1111 Old Eagle School Road
        interest                                                                          Wayne, PA 19087
        State the term                 Unknown
        remaining
        List the contract number
        of any government
        contract

2.2     State what the contract        Lease Agreement No. BW031021
        or lease is for and the                                                           Camber Road Partners, Inc.
        nature of the debtor’s                                                            3601 Minnesota Drive
        interest                                                                          Ste 670
        State the term                 Unknown                                            Minneapolis, MN 55435
        remaining
        List the contract number
        of any government
        contract

2.3     State what the contract        Confidential Severance Agreement and General
                                                                                          Redacted
        or lease is for and the        Release of Claims
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number       Unknown
        of any government
        contract
Debtor   Bitwise Industries, Inc._________________________________________________           Case number (if known) 23-00001________________________________________
         Name
                                      Case 23-10845-TMH               Doc 3          Filed 06/28/23            Page 329 of 334

  2.4      State what the contract     Contract No. 500-50311423
           or lease is for and the                                                    Cisco Systems Capital Corporation
           nature of the debtor’s                                                     1111 Old Eagle School Road
           interest                                                                   Wayne, PA 19087
           State the term              Unknown
           remaining
           List the contract number
           of any government
           contract

  2.5      State what the contract     Contract No. 500-50316239
           or lease is for and the                                                    Cisco Systems Capital Corporation
           nature of the debtor’s                                                     1111 Old Eagle School Road
           interest                                                                   Wayne, PA 19087
           State the term              Unknown
           remaining
           List the contract number
           of any government
           contract

  2.6      State what the contract     Contract No. 500-50313063
           or lease is for and the                                                    Cisco Systems Capital Corporation
           nature of the debtor’s                                                     1111 Old Eagle School Road
           interest                                                                   Wayne, PA 19087
           State the term              Unknown
           remaining
           List the contract number
           of any government
           contract

  2.7      State what the contract     Master Lease Agreement
           or lease is for and the                                                    De Lage Landen Financial Services, Inc.
           nature of the debtor’s                                                     1111 Old Eagle School Road
           interest                                                                   Wayne, PA 19087
           State the term              Unknown
           remaining
           List the contract number
           of any government
           contract

  2.8      State what the contract     Lease Agreement No. 001-9039769-002
           or lease is for and the                                                    Dell Financial Services L.L.C.
           nature of the debtor’s                                                     Mail Stop-PS2DF-23
           interest                                                                   One Dell Way
           State the term              Unknown                                        Round Rock, TX 78682
           remaining
           List the contract number
           of any government
           contract

  2.9      State what the contract     Lease Agreement No. 001-9039769-001
           or lease is for and the                                                    Dell Financial Services L.L.C.
           nature of the debtor’s                                                     Mail Stop-PS2DF-23
           interest                                                                   One Dell Way
           State the term              Unknown                                        Round Rock, TX 78682
           remaining
           List the contract number
           of any government
           contract
Debtor   Bitwise Industries, Inc._________________________________________________           Case number (if known) 23-00001________________________________________
         Name
                                      Case 23-10845-TMH                Doc 3          Filed 06/28/23         Page 330 of 334

  2.10     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.11     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.12     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.13     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.14     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.15     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract
Debtor   Bitwise Industries, Inc._________________________________________________           Case number (if known) 23-00001________________________________________
         Name
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  2.16     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.17     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.18     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract

  2.19     State what the contract     Confidential Severance Agreement and General
           or lease is for and the     Release of Claims                               Redacted
           nature of the debtor’s
           interest
           State the term
           remaining
           List the contract number    Unknown
           of any government
           contract
                                       Case 23-10845-TMH                        Doc 3           Filed 06/28/23                Page 332 of 334

  Fill in this information to identify the case:

  Debtor name: Bitwise Industries, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 23-00001
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
BW Industries Inc.                                                                                 Greenline CDF Subfund XXXVI LLC                                         D
                                  BW Industries Inc.
                                  700 Van Ness Avenue                                                                                                                      E/F
                                  Fresno, CA 93721
                                                                                                                                                                           G


2.2
BWRD, LLC                                                                                          Greenline CDF Subfund XXXVI LLC                                         D
                                  BWRD, LLC
                                  700 Van Ness Avenue                                                                                                                      E/F
                                  Fresno, CA 93721
                                                                                                                                                                           G


2.3
Alpha Works                                                                                        Greenline CDF Subfund XXXVI LLC                                         D
Technologies, Inc.                Alpha Works Technologies, Inc.
                                  700 Van Ness Avenue                                                                                                                      E/F
                                  Fresno, CA 93721
                                                                                                                                                                           G


2.4
BW Industries Inc.                                                                                 GZ Impact Fund I, L.P.                                                  D
                                  BW Industries Inc.
                                  700 Van Ness Avenue                                                                                                                      E/F
                                  Fresno, CA 93721
                                                                                                                                                                           G
Debtor   Bitwise Industries, Inc._________________________________________________           Case number (if known) 23-00001________________________________________
         Name
                                  Case 23-10845-TMH                   Doc 3          Filed 06/28/23            Page 333 of 334

  2.5
  BWRD, LLC                                                                           GZ Impact Fund I, L.P.                                       D
                              BWRD, LLC
                              700 Van Ness Avenue                                                                                                  E/F
                              Fresno, CA 93721
                                                                                                                                                   G

  2.6
  Alpha Works                                                                         GZ Impact Fund I, L.P.                                       D
  Technologies, Inc.          Alpha Works Technologies, Inc.
                              700 Van Ness Avenue                                                                                                  E/F
                              Fresno, CA 93721
                                                                                                                                                   G

  2.7
  BW Industries Inc.                                                                  Sobrato Family Foundation                                    D
                              BW Industries Inc.
                              700 Van Ness Avenue                                                                                                  E/F
                              Fresno, CA 93721
                                                                                                                                                   G

  2.8
  BWRD, LLC                                                                           Sobrato Family Foundation                                    D
                              BWRD, LLC
                              700 Van Ness Avenue                                                                                                  E/F
                              Fresno, CA 93721
                                                                                                                                                   G


  2.9
  Alpha Works                                                                         Sobrato Family Foundation                                    D
  Technologies, Inc.          Alpha Works Technologies, Inc.
                              700 Van Ness Avenue                                                                                                  E/F
                              Fresno, CA 93721
                                                                                                                                                   G
                                    Case 23-10845-TMH                        Doc 3    Filed 06/28/23            Page 334 of 334

  Fill in this information to identify the case:

  Debtor name: Bitwise Industries, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 23-00001
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

06/28/2023                                                                             /s/ Ollen Douglass

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Ollen Douglass

                                                                                       Printed name
                                                                                       Interim President

                                                                                       Position or relationship to debtor
